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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    LAREDO DIVISION

                                                                    )
 In re:                                                             ) Chapter 11
                                                                    )
 VOLUSION, LLC1                                                     ) Case No. 20-50082 (DRJ)
                                                                    )
                            Reorganized Debtor.                     )
                                                                    )

                 REORGANIZED DEBTOR’S AMENDED OBJECTION TO
          THE PROOFS OF CLAIM NOS. 16, 21,2 AND 22 FILED BY BAHAR DEJBAN

          This is an objection to your claim. The objection party is asking the court to disallow the claim
          that you filed in this bankruptcy case. You should immediately contact the objecting party to
          resolve the dispute. If you do not reach an agreement, you must file a response to this objection
          and send a copy of your response to the objecting party within thirty (30) days after the
          objection was served on you. Your response must state why the objection is not valid. If you
          do not file a response within 30 days after the objection was served on you, your claim may be
          disallowed without a hearing.
          A hearing will be conducted on this matter on May 5, 2021 at 1:00 p.m. in Courtroom 400, 4th
          floor, 515 Rusk, Houston, TX 77002. You may participate in the hearing either in person or
          by audio/video connection.
          Audio communication will be by use of the Court’s dial-in facility. You may access the facility
          at (832) 917-1510. You will be responsible for your own long distance charges. Once connected,
          you will be asked to enter the conference room number. Judge Jones conference room number
          is 205691.
          You may view video via GoToMeeting. To use GoToMeeting, the Court recommends that you
          download the free GoToMeeting application. To connect, you should enter the meeting code
          “JudgeJones” in the GoToMeeting app or click the link on Judge Jones home page on the
          Southern District of Texas website. Once connected, click the settings icon in the upper right
          corner and enter your name under the personal information setting.
          Hearing appearances must be made electronically in advance of the hearing. To make your
          electronic appearance, go to the Southern District of Texas website and select “Bankruptcy
          Court” from the top menu. Select “Judges’ Procedures,” then “View Home Page” for Judge
          Jones. Under “Electronic Appearance” select “Click here to submit Electronic Appearance”.
          Select the case name, complete the required fields and click “Submit” to complete your
          appearance.
          If you object to the relief requested, you must respond in writing. Unless otherwise directed
          by the Court, you must file your response electronically at https://ecf.txsb.uscourts.gov/ within



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          The Reorganized Debtor in this chapter 11 case, along with the last four digits of the Reorganized Debtor’s
federal tax identification number, is: Volusion, LLC (9037). The Reorganized Debtor’s service address is 1835A
Kramer Lane, Suite 100, Austin, TX 78758.
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          The Reorganized Debtor is filing this Amended Claim Objection solely to include within its scope an
objection to Claim No. 21, duplicate of the other Claims, which although was listed in the name of counsel on the
claim register, is also filed on behalf of Dejban.
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       thirty (30) days from the date this motion was filed. Otherwise, the Court may treat the
       pleading as unopposed and grant the relief requested.

       Volusion, LLC (“Debtor” and after the occurrence of the Effective Date of the Plan, the

“Reorganized Debtor”), files this objection (this “Objection”) to Claim No. 16 (“Claim No. 16”),

Claim No. 21, and Claim No. 22 (“Claim No. 22” and together with the Claim Nos. 16 and 21,

the “Claims”) filed by Bahar Dejban (the “Claimant” or “Ms. Dejban”) and submits the

Declaration of Timothy Stallkamp, Chief Restructuring Officer of Volusion, LLC in Support of the

Debtor’s Objection to the Proofs of Claim Nos. 16 and 22 filed by Bahar Dejban (the “Stallkamp

Declaration”), attached as Exhibit A. In further support of this Objection, the Reorganized

Debtor respectfully states as follows:

                                         Relief Requested

       1.      The Debtor seeks entry of the proposed order (the “Order”) pursuant to § 502(b) of

title 11 of the United States Code (the “Bankruptcy Code”) and rule 3007 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) disallowing the Claims of Ms. Dejban, filed as

Proof of Claim No. 16, Proof of Claim No. 22, and Proof of Claim No. 21. See Exhibit B, Exhibit

C, and Exhibit D. The Claims assert unliquidated amounts for claims that are unenforceable

against the Debtor under any agreement or applicable law. The Debtor objects to the Claims to

the extent that they stem from the termination of an alleged employment contract and for amounts

that exceed compensation for one year following the earlier of the Petition Date or the date of Ms.

Dejban’s termination. In support of this Objection, the Debtor submits the Stallkamp Declaration,

attached hereto as Exhibit A.

                       Jurisdiction, Venue, and Procedural Background

       2.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. The Debtor confirms



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its consent, pursuant to Bankruptcy Rule 7008, to the entry of a final order by the Court in

connection with this Objection.

       3.     Venue is permissible pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.     The statutory bases for the relief requested herein are §§ 105(a) and 502(b) of

the Bankruptcy Code, Bankruptcy Rule 3007, and Rules 9013-1 and 3007-1 of the Bankruptcy

Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”).

                                   Procedural Background

       5.     On July 27, 2020 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the United States Bankruptcy Code in the Court.

       6.     The statutory bar date for filing claims was November 30, 2020 (the “General

Bar Date”). The bar date for governmental entities to file a claim is February 8, 2021 (the

“Governmental Bar Date”).

       7.     On November 20, 2020, the Court entered the Order Confirming the Debtor’s

Combined Plan of Reorganization and Approving on a Final Basis the Disclosure Statement of

Volusion, LLC Pursuant to Chapter 11 of the Bankruptcy Code (the “Confirmation Order”)

[Docket No. 128]. On January 19, 2021, the Effective Date of the Plan occurred. See Docket

No. 158.

       8.     On November 30, 2020, Ms. Dejban filed her Proof of Claim No. 16 in the

amount of $9,250,000. See Exhibit B.

       9.     On November 30, 2020, Ms. Dejban filed her Proof of Claim No. 22 in the

amount of $9,250,000. See Exhibit C.

       10.    On November 30, 2020, Ms. Dejban filed her Proof of Claim No. 21 in the

amount of $9,250,000. See Exhibit D.




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                                  Summary of the Objection

       11.      The Court should disallow the Claims pursuant to section 502(b)(1). Ms. Dejban

was not an employee of the Debtor. Ms. Dejban was not herself even an independent contractor

of the Debtor—instead, she was employed by the company (that she partially owned) that

contracted with the Debtor. Even if Ms. Dejban had standing to pursue the Claims she asserts, no

discrimination occurred. Ms. Dejban became involved with the Debtor through an apparent act of

nepotism and was placed in a position for which she was not qualified. Further, Ms. Dejban’s

loyalty to the Debtor as a client was impaired and breached. Ms. Dejban’s relationship with the

Debtor was terminated with good cause and without a discriminatory basis.

                                      Factual Background

       12.      Bardia Dejban (“Mr. Dejban”) was originally hired as Chief Information Officer in

2015 and began work in that role in February 2016; he became the Debtor’s Chief Executive

Officer (“CEO”) in August 2019. Sometime after his employment, Mr. Dejban cut a sweetheart

deal for his twin sister, Ms. Dejban and her husband, the CEO’s brother-in-law. On behalf of the

Debtor, Mr. Dejban signed an Independent Contractor Agreement (“Independent Contractor

Agreement”) with DK Strategic Solutions, LLC (“DK”). The Independent Contractor Agreement

expressly provided that “[i]t is the express intention of the parties that [DK] is an independent

contractor. Nothing in this Agreement shall in any way be construed to constitute Contractor as

an agent, employee, or representative of [Volusion], but [DK] shall perform the Services hereunder

as an independent contractor.” A copy of the Independent Contractor Agreement is attached hereto

as Exhibit E.

       13.      DK is a company partially owned by Ms. Dejban. DK contracted to provide two

different types of services. First, DK, with Ms. Dejban as “owner,” agreed to “render to the

Company . . . General Counsel Services . . . as requested by Company’s CEO and/or Founder.”


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Second, DK agreed to provide negotiation and management services, and Ms. Dejban’s husband

Shawn Khorrami (“Mr. Khorrami”) would allegedly perform such services. Under Exhibit A to

the Independent Contractor Agreement (general counsel services), DK was paid a monthly fee of

$30,000, and under Exhibit B to the Independent Contractor Agreement (management services),

DK was paid a monthly fee of $30,000 (which was eventually increased to $35,000).

       14.     Ms. Dejban resides in and is licensed to practice law in California. To the best of

Debtor’s knowledge, Ms. Dejban’s experience as a lawyer is limited to personal injury work, and

in particular, personal injury work with her husband’s former firm. Ms. Dejban had no experience

performing general counsel services for a company, much less a tech services company like the

Debtor. Ms. Dejban was not familiar with Debtor’s business or industry. Ms. Dejban was

unqualified to provide general counsel services on behalf of the Debtor and should have never

been retained by the Debtor indirectly through DK.

       15.     Mr. Khorrami is Ms. Dejban’s husband. Mr. Khorrami was a California lawyer

who was disbarred in 2016. Like Ms. Dejban, Mr. Khorrami had no prior experience in the

Debtor’s business. Regardless, Ms. Dejban, either ignorant of or in disregard to her fiduciary

duties to the Debtor, signed the Independent Contractor Agreement on behalf of DK so that

Mr. Khorrami would be a paid consultant to the CEO (Ms. Dejban’s twin brother).

       16.     Ms. Dejban had an inherent conflict of interest as a result of the DK arrangement

with Debtor. Ms. Dejban’s personal interest that her husband receive $30,000 a month for vague

management services was a fundamental conflict of interest that Ms. Dejban could not overcome

(as well as the fact that she answered to and reported to her twin brother).




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         17.      With respect to Ms. Dejban’s own interest and family relationships, Rule 1.7 of the

California Rules of Professional Conduct addresses the issue when a lawyer’s own interests create

a conflict:

         A lawyer shall not, without informed written consent from each affected client and
         compliance with paragraph (d), represent a client if there is a significant risk the
         lawyer’s representation of the client will be materially limited by the lawyer’s
         responsibilities to or relationships with a third person, or by the lawyer’s own
         interests. Rule 1.7 of the Model Rules of Professional Conduct provides that except
         as provided in paragraph (b)3, a lawyer shall not represent a client if the
         representation involves a concurrent conflict of interest. A concurrent conflict of
         interest exists if: “there is a significant risk that the representation of one or more
         clients will be materially limited by the lawyer’s responsibilities to another client,
         a former client or a third person or by a personal interest of the lawyer.”4
         (emphasis added)

         18.      From the moment she signed the DK Independent Contractor Agreement as

“owner,” Ms. Dejban created an inherent conflict of interest so that her role as a fiduciary took a

back seat to her personal interest and the relationship among her, Mr. Khorrami and the CEO.

         19.      For the reasons discussed in the objection to Bardia Dejban’s proofs of claim5

(which are hereby incorporated by reference), filed contemporaneously herewith, on July 27, 2020,

the Board terminated the employment of Mr. Dejban and terminated the independent contractor

engagements of DK, Ms. Dejban, Dejban Law, and Mr. Khorrami. The Board also terminated any




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  (b) states “Notwithstanding the existence of a concurrent conflict of interest under paragraph (a), a lawyer may
represent a client if: (1) the lawyer reasonably believes that the lawyer will be able to provide competent and diligent
representation to each affected client; (2) the representation is not prohibited by law; (3) the representation does not
involve the assertion of a claim by one client against another client represented by the lawyer in the same litigation or
other proceeding before a tribunal; and (4) each affected client gives informed consent, confirmed in writing.”
4
  Tex. Rules Disciplinary P.R. 1.06 comment 5 states that the “lawyer’s own interests should not be permitted to have
adverse effect on representation of a client. If the probity of a lawyer’s own conduct in a transaction is in question, it
may be difficult for the lawyer to give a client detached advice. A lawyer should not allow related business interests
to affect representation, for example, by referring clients to an enterprise in which the lawyer has an undisclosed
interest.”
5
  See the Reorganized Debtor’s Objection to the Proofs of Claim Nos. 15, 20, and 23 Filed by Bardia Dejban.



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other contractor engagements of DK as well as the engagement of California law firm Geragos &

Geragos and law firm Spencer Fane, and it terminated Kevin Sproles’ position as well.

         20.   The Board’s decision with respect to Ms. Dejban and her law firm Dejban Law was

threefold. First, Ms. Dejban was unqualified to render general counsel services. Second, Ms.

Dejban’s loyalty laid with her brother and her husband, and not the Debtor. Third, the Board

desired to undo Mr. Dejban’s misdeeds, including entering into independent contractor agreements

with family members to serve Mr. Dejban and not the Debtor.

                                            Objection

A.       The Claims are Unenforceable Against the Debtor Under any Agreement or
         Applicable Law.

         21.   Under section 502(b)(1), the court “shall determine the amount of such claim…as

of the date of the filing of the petition, and shall allow such claim in such amount, except to the

extent that—such claim is unenforceable against the debtor and the property of the debtor…”

11 U.S.C. § 502(b)(1).

         22.   As set forth in Bankruptcy Rule 3001(f), a properly executed and filed proof of

claim constitutes prima facie evidence of the validity and the amount of the claim under § 502(a)

of the Bankruptcy Code. See, e.g., In re Jack Kline Co., Inc., 440 B.R. 712, 742 (Bankr. S.D. Tex.

2010).    A proof of claim loses the presumption of prima facie validity under Bankruptcy

Rule 3001(f) if an objecting party refutes at least one of the allegations that are essential to the

claim’s legal sufficiency. See In re Fidelity Holding Co., Ltd., 837 F.2d 696, 698 (5th Cir. 1988).

Once such an allegation is refuted, the burden reverts to the claimant to prove the validity of its

claim by a preponderance of the evidence. See id. Despite this shifting burden during the claim

objection process, “the ultimate burden of proof always lies with the claimant.” In re Armstrong,




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347 B.R. 581, 583 (Bankr. N.D. Tex. 2006) (citing Raleigh v. Ill. Dep’t of Revenue, 530 U.S. 15

(2000)).

       23.     The Claims stem from the Debtor’s termination of the independent contractor

relationship it had with Ms. Dejban’s company, DK. The Claims assert unliquidated claims

alleging national origin discrimination, sex discrimination, and retaliation under Title VII of the

Civil Rights Act of 1984 (“Title VII”) and California’s Fair Employment and Housing Act

(“FEHA”) and disability discrimination under the Americans with Disabilities Act (“ADA”). The

Claims are not enforceable against the Debtor under any agreement or applicable law and should

be disallowed under section 502(b)(1).

       24.     Ms. Dejban cannot meet her burden to establish liability on any of these allegations.

First and foremost, Ms. Dejban’s relationship with the Debtor was, at most, that of an independent

contractor, not an employee. None of the statutes under which Ms. Dejban seeks relief apply to

independent contractors. Even if Ms. Dejban were an employee of Debtor, her Claims must fail

because she is unable to present evidence capable of satisfying the elements required to establish

a prima facie case of discrimination or retaliation under Title VII, the FEHA, or the ADA. Debtor

has shown that it had legitimate, non-discriminatory, non-retaliatory reasons for terminating its

independent contractor relationship with Ms. Dejban’s company (DK).                 Primarily, the

reconstituted Board determined that Ms. Dejban was unqualified to render general counsel services

and Ms. Dejban’s loyalty laid with her brother and husband, and not the Debtor. The reconstituted

Board desired to undo Mr. Dejban’s improper actions as CEO of Debtor, such as entering into

independent contractor agreements with family members to serve Mr. Dejban and not the Debtor.

Ms. Dejban is unable to present evidence capable of showing that the legitimate, non-




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discriminatory, non-retaliatory reasons for which the Debtor terminated its relationship with her

were a pretext for discrimination or retaliation in violation of Title VII, the FEHA or the ADA.

B.     Ms. Dejban’s Status as an Independent Contractor Bars all of Her Claims.

       25.     Ms. Dejban’s relationship with Debtor was, at most, that of an independent

contractor (and solely based on the DK engagement and not any other arrangement directly with

the Debtor). Ms. Dejban was never an employee. And, even if she somehow qualified as an

independent contractor of the Debtor, none of the statutes under which she seeks relief apply to

independent contractors. See Diggs v. Harris Hospital-Methodist, Inc., 847 F.2d 270, 272 (5th

Cir. 1988) (Title VII’s protections do not apply to independent contractors); Bloom v. Bexar

County, Tex., 130 F.3d 722, 724 (5th Cir. 1997) (Title I of the ADA does not apply to independent

contractors); Talley v. County of Fresno, 51 Cal. App. 5th 1060, 1071 (2020) (Plaintiff’s claims

require him to prove he is an employee within the meaning of the FEHA).

       26.     To determine whether a person is an employee or independent contractor for

purposes of Title VII and the ADA, courts apply the hybrid economic realities/common law control

test. See Muhammad v. Dallas Cnty. Cmty. Supervision & Corr. Dept., 479 F.3d 377, 382 (5th

Cir. 2007); Burton v. Freescale Semiconductor, Inc., 798 F.3d 222, 227 (5th Cir. 2015) (citing

Deal v. State Farm Cnty. Mut. Ins. Co. of Texas, 5 F.3d 117, 118-19 (5th Cir. 1993)). “The most

important component of this test is ‘[t]he right to control the employee’s conduct,’” “‘focus[ing]

on whether the employer has the right’ to hire, fire, supervise, and set the work schedule of the

employee.” Id. (quoting Deal v. State Farm Cty. Mut. Ins. Co. of Tex., 5 F.3d 117, 119 (5th Cir.

1993)). The economic realities component evaluates whether the alleged employer “paid the

employee’s salary, withheld taxes, provided benefits, and set the terms and conditions of

employment.” Id. The test requires that the worker “as a matter of economic reality, be dependent

on the business to which they render service.” Juino v. Livingston Par. Fire Dist. No. 5, 717 F.3d


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431, 435 (5th Cir. 2013) (citing Diggs v. Harris Hosp.-Methodist, Inc., 847 F.2d 270, 272 n.3 (5th

Cir. 1988)).

       27.     Courts also look at whether the parties intended that the individual be an employee

or independent contractor, as expressed in written agreements or contracts. Clackamas

Gastroenterology Assocs., P.C. v. Wells, 538 U.S. 440 (2003); see also Haskett v. Percheron, LLC,

CV G-14-257, 2016 WL 1054396, at *4 (S.D. Tex. Mar. 9, 2016), (considering the worker’s ability

to render their services to others in finding that there was no employer-employee relationship); see

also Broussard v. L.H. Bossier, Inc., 789 F.2d 1158, 1160 (5th Cir. 1986) (noting the workers were

not employees based on several facts, including that they were responsible for their operating costs,

license fees, and taxes and that their pay was much higher than that of company workers).

       28.     In order to determine whether a person is an employee or independent contractor

for purposes of the FEHA, courts look to traditional common law principles of agency and

respondeat superior. Patterson v. Domino’s Pizza, LLC, 333 P.3d 723, 734 (Cal. 4th Dist. 2014).

In FEHA cases, “courts consider the totality of the circumstances bearing on the nature of the work

relationship of the parties, with an emphasis on the extent to which the defendant controls the

plaintiff’s performance of employment duties.” Rhodes v. Sutter Health, 949 F. Supp. 2d 997, 1003

(E.D. Cal. 2013). Other factors to be taken into account include “payment of salary or other

employment benefits and Social Security taxes, the ownership of the equipment necessary to

performance of the job, the location where the work is performed, the obligation of the defendant

to train the employee, the authority of the defendant to hire, transfer, promote, discipline or

discharge the employee, the authority to establish work schedules and assignments, the defendant’s

discretion to determine the amount of compensation earned by the employee, the skill required of

the work performed and the extent to which it is done under the direction of a supervisor, whether




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the work is part of the defendant’s regular business operations, the skill required in the particular

occupation, the duration of the relationship of the parties, and the duration of the plaintiff’s

employment. Id. (quoting Vernon v. State, 116 Cal. App. 4th 114, 124 (2004)).

           29.    Of these factors, the extent of the defendant’s right to control the means and manner

of the workers’ performance is the most important. Vernon, 116 Cal. App. 4th at 126. “‘A finding

of the right to control employment requires . . . a comprehensive and immediate level of “day-to-

day” authority over employment decisions.’” Doe I v. Wal-Mart Stores, Inc., 572 F.3d 677, 682

(9th Cir. 2009) (quoting Vernon, 116 Cal. App. 4th at 127-28). In the case of Irish v Magnussen

Home Furnishings, Inc., 786 F. App’x 687, 687 (9th Cir. 2019), the court ruled that the plaintiff

was an independent contractor as a matter of law because he “set his own schedule, paid himself

out of his company’s funds, owned most of the equipment he used, was permitted to work for other

employers at the same time he worked for [the company], and was never issued W-2 tax forms.”

The court held that, taken together, these facts show that the plaintiff was an independent

contractor. Id.

           30.    At the most, Ms. Dejban performed services for Debtor as an independent

contractor, not an employee. Ms. Dejban is a lawyer licensed to practice in the State of California.

She owns her own law firm, Dejban Law. According to Dejban Law’s own website, the firm

markets its services nationwide. As an example, the Dejban Law website currently states on its

home page:

The Firm

Dejban Law is California law firm that helps clients nationwide who have been wronged due to the negligence or intentional
acts of others.


Our firm provides services to clients in numerous fields and practice areas including personal injury, product liability,
employment, dangerous drugs and devices, food contamination, civil rights, consumer protection and numerous others.




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Get in touch with us to set up a consultation, or use the contact form at the bottom of this page to enquire whether our
services are right for you.6



          31.      In addition to her law firm, Ms. Dejban owns DK. Ms. Dejban signed the

Independent Contractor Agreement as “owner” of DK in which she agreed to “render to the

Company . . . General Counsel Services . . . as requested by Company’s CEO and/or Founder.”

Ms. Dejban performed services for the Debtor under and pursuant to the terms of the DK

Independent Contractor Agreement. The Debtor did not pay any salary or compensation of any

kind to Ms. Dejban. It likewise paid no health insurance or any other benefits to Ms. Dejban that

it provided to its actual employees. Rather, the Debtor paid DK for services under the Independent

Contractor Agreement. The Debtor did not issue a W-2 to Ms. Dejban. The Debtor did not issue

a 1099 to Ms. Dejban. Rather, the Debtor issued an 1099 to DK for payments made under the

Independent Contractor Agreement. Ms. Dejban is a practicing lawyer with her own law firm that

markets her services to the public at large. The Debtor did not have the right to control Ms.

Dejban’s conduct, nor did it control her work schedule. There was no “comprehensive and

immediate level of “day-to-day” authority over employment decisions” as required to show right

of control under the FEHA. See Doe I., 572 F.3d 677 at 682. The Debtor did not pay Ms. Dejban’s

operating costs, license fees, or taxes. The Debtor did not have any obligation to train Ms. Dejban

and did not in fact train her. The practice of law is a highly skilled profession and Ms. Dejban did

not work under the direction of a supervisor. The practice of law is not part of the Debtor’s regular

business operations. Taken together, all of these facts establish as a matter of law that Ms. Dejban

was not an employee of the Debtor under any of the statutes that form the basis for her Claims. As

such, all of her Claims must be dismissed pursuant to section 502(b)(1).



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    See http://www.dejbanlaw.com/.


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C.      Ms. Dejban Cannot Establish National Origin Discrimination.7

        32.      Ms. Dejban claims that the Debtor terminated her employment because of her

national origin in violation of Title VII and the FEHA. Under Title VII, it is unlawful for an

employer “to discriminate against any individual with respect to his compensation, terms,

conditions, or privileges of employment, because of such individual’s race, color, religion, sex, or

national origin.” 42 U.S.C. § 2000e-2(a)(1). Under FEHA, it is an unlawful employment practice

for an employer, because of the national origin of any person to discriminate against the person in

compensation or in terms, conditions, or privileges of employment. Cal. Gov. Code § 12940(a).

The analysis of claims under the FEHA is identical to that applied to claims brought under

Title VII. See Metoyer v. Chassman, 504 F.3d 919, 941 (9th Cir. 2007).

        33.      When a claimant relies only on circumstantial evidence in an attempt to prove her

discrimination claim, courts utilize the framework set forth in McDonnell Douglas Corp. v. Green,

411 U.S. 792 (1973). “Under this framework, the plaintiff must first create a presumption of

discrimination by making out a prima facie case of discrimination.” Laxton v. Gap, Inc., 333 F.3d

572, 578 (5th Cir. 2003) (internal citations omitted). If the plaintiff can establish a prima facie

case, “the burden of production shifts to the employer, who must offer an alternative

nondiscriminatory explanation for the adverse employment action.” Lee v. Kansas City S. Ry. Co.,

574 F.3d 253, 259 (5th Cir. 2009). To meet its intermediary burden, an employer only needs to

set out its reason for the adverse employment action through admissible evidence. See Turner v.

Kan. City S. Ry. Co., 675 F.3d 887, 900 (5th Cir. 2012). If the employer produces any evidence

‘which, taken as true, would permit the conclusion that there was a nondiscriminatory reason for


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  Debtor maintains that Ms. Dejban was no more than an independent contractor and that all of her Claims must fail
on that ground alone. However, alternatively and in an abundance of caution, even if Ms. Dejban were considered an
employee, her Claims would still fail. By making these arguments, Debtor is not waiving its assertion that Ms. Dejban
was nothing more than an independent contractor and is not admitting that she was its employee.


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the adverse action,’ then the employer has satisfied its burden of production.” Daigle v. Liberty

Life Ins. Co., 70 F.3d 394, 396 (5th Cir. 1995) (quoting Hicks, 509 U.S. at 507); see EEOC v.

Texas Bus Lines, 923 F. Supp. 965, 970 (S.D. Tex. 1996). If the defendant sustains its burden of

production, “the presumption raised by the plaintiff’s prima facie case essentially disappears, and

the plaintiff is left with the ultimate burden which has never left [her]: that of proving that the

defendant intentionally discriminated against [her].” Tanik v. Southern Methodist Univ., 116 F.3d

775, 776 (5th Cir.), cert. denied, 522 U.S. 1015 (1997). If the defendant can articulate such a

nondiscriminatory reason, the burden then shifts back to the plaintiff who must show at “a new

level of specificity” that the explanation is merely a pretext for discrimination. Thornbrough v.

Columbus & Greenville R.R. Co., 760 F.2d 633, 639 (5th Cir. 1985), abrogated on other grounds

by St. Mary’s Honor Center v. Hicks, 509 U.S. 502, 513 (1993). In the alternative, the plaintiff

may show “that the employer’s reason, while true, is not the only reason for its conduct, and

another ‘motivating factor’ is the plaintiff’s protected characteristic.” Alvarado v. Tex. Rangers,

492 F.3d 605, 611 (5th Cir. 2007) (quoting Rachid v. Jack In The Box, Inc., 376 F.3d 305, 312 (5th

Cir. 2004)).

       34.     Ms. Dejban cannot establish a prima facie case of national origin discrimination.

To sustain her national origin discrimination claim, Ms. Dejban must first establish a prima facie

case by showing: (1) she is a member of a protected class, (2) she was qualified for the position at

issue, (3) she was the subject of an adverse employment action, and (4) she was replaced by

someone outside the protected class or she was treated less favorably than similarly situated

employees who were not of her protected class under nearly identical circumstances. Lee, 574 F.3d

at 259; Okoye v. Univ. of Tex. Houston Health Sci. Ctr., 245 F.3d 507, 513 (5th Cir. 2001).




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       35.     Ms. Dejban cannot establish the second or fourth elements of her prima facie case.

With regard to the second element, Ms. Dejban was not qualified to provide general counsel

services on behalf of the Debtor. Ms. Dejban resides in and is licensed to practice law in

California, while the Debtor is located in Texas. To the best of Debtor’s knowledge, Ms. Dejban’s

experience as a lawyer is limited to personal injury work. Ms. Dejban had no experience

performing general counsel services for a technology company. Ms. Dejban was not familiar with

Debtor’s business or industry. With regard to the fourth element, Debtor has not replaced

Ms. Dejban. She cannot show that she was replaced by someone outside her protected class.

Further, Ms. Dejban cannot identify any similarly situated employee who was not of Iranian

descent and was treated more favorably. Therefore, Ms. Dejban must proceed under the disparate

treatment clause of the fourth prong.

       36.     Ms. Dejban cannot establish disparate treatment. Ms. Dejban’s comparison of

herself to other employees is limited to vague, broad, general and conclusory contentions that

employees of Iranian descent (she and her twin brother) were treated worse than employees not of

Iranian descent. Ms. Dejban has not and cannot demonstrate that she was treated less favorably

than other similarly-situated employees who were outside of her protected classes. The similarly

situated analysis requires Ms. Dejban to show that the Debtor gave preferential treatment to a

coworker who was not of Iranian descent under nearly identical circumstances. See Okoye, 245

F.3d at 514. This coworker, known as a comparator, must hold the “same job” or hold the same

job responsibilities as Ms. Dejban; must “share [ ] the same supervisor” or have his “employment

status determined by the same person” as Ms. Dejban; and must have a history of “violations” or

“infringements” similar to those of Ms. Dejban. Alkhawaldeh v. Dow Chemical Co., 851 F.3d 422,

426 (5th Cir. 2017); Turner v. Kan. City S. Ry. Co., 675 F.3d 887, 893 (5th Cir. 2012) (quoting




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Lee, 574 F.3d at 260). Employees with “different work responsibilities . . . are not similarly

situated.” Lee, 574 F.3d at 259. The services that Ms. Dejban performed for Debtor through her

company (DK) were unique. There were no employees of the Debtor who performed the same

services or had the same responsibilities as Ms. Dejban, nor were there any employees who the

Debtor retained who had a history of violations and infringements similar to Ms. Dejban.

Therefore, Ms. Dejban cannot show that she was similarly situated to any employee of the Debtor

and fails to meet her prima facie burden. The facts do not support Ms. Dejban’s contention that

the Debtor targeted employees of Iranian descent for termination. Ms. Dejban and her twin brother

were not the only employees and contractors terminated by the Debtor’s reconstituted Board. In

connection with the restructuring and organizational realignment of Debtor, since July 27, 2020,

the reconstituted Board terminated a total of 23 employees. To Debtor’s knowledge, 22 of the 23

terminated employees were not of Iranian descent. The reconstituted Board also terminated the

independent contractor agreements that Debtor had with another California law firm, Geragos &

Geragos as well as with law firm Spencer Fane. It is clear that the Debtor was not targeting Iranian-

born employees or contractors for termination.

       37.     Even if Ms. Dejban could establish a prima facie case of discriminatory termination

because of her national origin, Ms. Dejban’s national origin discrimination claim still must fail

because the Debtor terminated the DK Independent Contractor Agreement for legitimate,

nondiscriminatory reasons—namely, because (i) the reconstituted Board determined that Ms.

Dejban was unqualified to render general counsel services, (ii) Ms. Dejban’s loyalty laid with her

brother and husband and not the Debtor, and (iii) the reconstituted Board desired to undo Mr.

Dejban’s improper actions as CEO, such as entering into independent contractor agreements with

family members to serve Mr. Dejban and not the Debtor. See Faruki v. Parsons, S.I.P., 123 F.3d




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315, 320 (5th Cir. 1997) (recognizing poor job performance as a legitimate, non-discriminatory

reason for termination of employment); see also Ihsan v. Weatherford U.S., LP, No. H-17-2546,

2019 U.S. Dist. LEXIS 85199, at *21 (S.D. Tex. May 21, 2019) (plaintiff’s failure to meet the

expectations for his position is a legitimate, non-discriminatory reason for terminating plaintiff’s

employment); Farrar & Ball, LLP v. Hudson, No. H-16-3341, 2018 U.S. Dist. LEXIS 39495, at

*11-12 (S.D. Tex. Mar. 12, 2018) (holding company satisfied its burden to articulate a legitimate,

non-discriminatory reason for the decision to terminate employee based on company’s “perception

that [Employee] had a bad attitude and was communicating her negativity to other [Company]

employees”); Mick v. Big Sur Waterbeds, No. A-06-CA-115 LY, 2006 U.S. Dist. LEXIS 117285,

at *13-15 (W.D. Tex. Dec. 18, 2006) (holding Defendant’s proffered reasons that “Plaintiff’s poor

attitude and poor relationships with his peers and supervisors in the year he worked” with

Defendant were legitimate, non-discriminatory reasons for Plaintiff’s termination); Wolf v. Tex.

A&M Univ. Sys., No. H-09-0643, 2010 U.S. Dist. LEXIS 46428, at *11 (S.D. Tex. May 12, 2010)

(holding defendant satisfied its burden to articulate a legitimate, non-discriminatory reason for

plaintiff’s termination on the basis plaintiff’s “attitude and demeanor caused [defendant] to lose

confidence in her ability to” satisfactorily perform her job).

       38.     Ms. Dejban cannot show that the Debtor’s reasons for terminating its contractual

relationship with her (through its termination of the DK contract) are pretextual, meaning false or

unworthy of belief. Raggs v. Miss. Power & Light Co., 278 F.3d 463, 468 (5th Cir. 2002) (defining

pretext). Whether Ms. Dejban disputes the facts that led to the termination of her contractual

relationship with Debtor is irrelevant. The reconstituted Board’s decision to do so was motivated

by its reasonable belief that keeping its contractual relationship with Ms. Dejban was not in the

Debtor’s best interests.




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       39.     In her Claims, Ms. Dejban makes it clear that she disagreed with the Debtor’s

assessment of her performance. However, disagreeing with an employer’s negative performance

assessment is insufficient to show pretext. Shackelford v. Deloitte & Touche LLP, 190 F.3d 398,

409 (5th Cir. 1999) (“the real issue is ‘whether [the employer’s] perception of [the employee’s]

performance, accurate or not, was the real reason for [his or] her termination.”). The Fifth Circuit

and other courts, have consistently held that such an inquiry into whether an employer’s

termination decision was correct is irrelevant to an employee’s discrimination claim. Bryant v.

Compass Group USA Inc., 413 F.3d 471, 478 (5th Cir. 2005) (“[E]vidence that the employer’s

investigation merely came to an incorrect conclusion does not establish a racial motivation behind

an adverse employment decision. Management does not have to make proper decisions, only non-

discriminatory ones.”); Little v. Republic Ref. Co., 924 F.2d 93, 97 (5th Cir. 1991) (“The existence

of competing evidence about the objective correctness of a fact underlying a defendant’s proffered

explanation does not in itself make reasonable an inference that the defendant was not truly

motivated by its proffered justification.”); Jones v. Overnite Transport Co., 212 F. App’x 268,

275 (5th Cir. 2006) (“Title VII does not protect an employee against unfair employment decisions;

instead, it protects against” discriminatory decisions.); Mayberry v. Vought Aircraft Co., 55 F.3d

1086, 1091 (5th Cir. 1995) (“The question is not whether an employer made an erroneous decision;

it is whether the decision was made with discriminatory motive.”); Little v. Rep. Refining Co., 924

F.2d 93, 97 (5th Cir. 1991) (“Even an incorrect belief that an employee’s performance is

inadequate constitutes a legitimate, nondiscriminatory reason. We do not try in court the validity

of good faith beliefs as to an employee’s competence. Motive is the issue…[A] dispute in the

evidence concerning…job performance does not provide a sufficient basis for a reasonable

factfinder to infer that [the] proffered justification is unworthy of credence.”). Ms. Dejban may




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believe that the contractual relationship with DK was terminated for illegal reasons; however, her

subjective beliefs are not relevant. The Fifth Circuit “has consistently held that an employee’s

subjective belief of discrimination alone is not sufficient to warrant judicial relief.” Byers v. Dallas

Morning News, Inc., 209 F.3d 419, 427 (5th Cir. 2000) (refusing to rely upon a plaintiff’s

subjective belief as to discriminatory intent).

D.     Ms. Dejban Cannot Establish Retaliation.

       40.     Ms. Dejban asserts illegal retaliation because of her sex (pregnancy) in violation of

Title VII and the FEHA. To establish her retaliation claim, Ms. Dejban must first establish a prima

facie retaliation case by proving: (1) she engaged in protected activity; (2) an adverse employment

action occurred; and (3) a causal connection existed between the protected conduct and adverse

employment action. Shackleford, 190 F.3d at 408. If Ms. Dejban establishes a prima facie case of

retaliation, the same burden shifting analysis applicable to her Title VII/FEHA discrimination

claim applies. See Id.

       41.     Ms. Dejban cannot establish the first or third elements of her prima facie retaliation

case. Ms. Dejban did not engage in a protected activity, which is required to state a prima facie

case of retaliation. A “protected activity” under Title VII includes: (1) opposition to any practice

rendered unlawful by Title VII; and (2) participation in an investigation, proceeding, or hearing

under Title VII or making a charge, testifying, or assisting in such activity. Douglas v.

DynMcDermott Petroleum Operations Co., 144 F.3d 364, 372-73 (5th Cir. 1998). Ms. Dejban did

not oppose any practice rendered unlawful by Title VII or participate in an investigation,

proceeding or hearing or make a charge, testify or assist in such activity prior to her termination

of employment. To the extent Ms. Dejban may have generally complained about her treatment by

the Debtor, such complaints are not considered protected activity. See Harris-Childs v. Medco

Health Solutions, Inc., 169 F. App’x 913, 916 (5th Cir. 2006) (affirming summary judgment on


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retaliation claim where plaintiff never “specifically complained of racial or sexual harassment,

only harassment”). With regard to the third element of Ms. Dejban’s prima facie retaliation case,

even assuming that she did engage in protected conduct, she cannot show a causal connection

between any such protected conduct and termination of her contractual relationship with the

Debtor. Finally, the Debtor terminated its contractual relationship with Ms. Dejban for legitimate,

non-discriminatory, non-retaliatory reasons and Ms. Dejban cannot show that the Debtor’s

articulated reasons for the termination are pretextual. Therefore, Ms. Dejban’s retaliation claims

must fail as a matter of law.




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E.     Ms. Dejban Cannot Establish that She Was Terminated Because of Her Pregnancy.

       42.     Ms. Dejban claims that the Debtor terminated her employment because of her sex

(pregnancy) in violation of Title VII and the FEHA. Title VII makes it unlawful for an employer

to “discriminate against any individual with respect to [her] compensation, terms, conditions, or

privileges of employment, because of . . . sex.” 42 U.S.C. § 2000e-2(a)(1). The Pregnancy

Discrimination Act (“PDA”) clarifies that “because of sex” includes “because of or on the basis of

pregnancy, childbirth, or other related medical conditions,” and requires that “women affected by

pregnancy, child-birth, or other related medical conditions shall be treated the same for all

employment-related purposes . . . as other persons not so affected but similar in their ability or

inability to work.” 42 U.S.C. § 2000e(k). Similarly, the FEHA prohibits an employer from

discriminating against a person in compensation or in the terms, conditions, or privileges of

employment because of sex or gender. Cal. Gov’t Code § 12940(a). A claim under the PDA is

analyzed like Title VII discrimination claims in general. Urbano v. Continental Airlines, Inc, 138

F.3d 204, 206 (5th Cir 1998). First, the plaintiff must establish a prima facie case of discrimination

by showing: (1) she was a member of a protected class, (2) she was qualified for the position she

lost, (3) she suffered an adverse employment action, and (4) that others similarly situated outside

of the protected class were more favorably treated. Id. (citing, McDonnell Douglas Corp v.

Green, 411 U.S. 792, 802 (1973)).

       43.     For the same reasons set forth above as to why Ms. Dejban cannot establish a prima

facie case of national origin discrimination, Ms. Dejban cannot establish her prima facie case of

pregnancy discrimination. Ms. Dejban was not qualified to provide the services that DK had

contracted her to provide. Also, she cannot show that others similarly situated outside of her

protected class were more favorably treated. Additionally, the Debtor terminated its contractual

relationship with Ms. Dejban for legitimate, non-discriminatory, non-retaliatory reasons.


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Ms. Dejban cannot show that the Debtor’s articulated reasons for terminating its contractual

relationships with her are pretextual. Therefore, Ms. Dejban’s claim that she was terminated

because of her pregnancy must fail as a matter of law.

F.     Ms. Dejban Cannot Establish that Debtor Failed to Accommodate her Pregnancy in
       Violation of the Title VII or the FEHA.

       44.     Ms. Dejban alleges that Debtor “refused” to accommodate her pregnancy in

violation of law. Under Title VII, a plaintiff claiming pregnancy discrimination for a failure to

accommodate must show: (1) that she belongs to the protected class, (2) that she sought

accommodation, (2) that the employer did not accommodate her, and (4) that the employer did

accommodate others similar in their ability or inability to work. Young v. UPS, 135 S. Ct. 1338,

1354 (2015) (internal quotation marks omitted). The FEHA makes it unlawful “for an employer

to refuse to provide reasonable accommodation for an employee for a condition related to

pregnancy, childbirth, or a related medical condition, if she so requests, with the advice of her

healthcare provider.” Cal. Gov’t Code § 12945(a)(3)(A). To state a pregnancy discrimination

claim for failure to accommodate under FEHA, a plaintiff must show that: (1) her employer refused

a reasonable accommodation (2) for a pregnancy-related condition (3) requested by an employee

affected by pregnancy (4) with the advice of her health care provider. See Mayfield v. Trevors

Store, Inc., No. C-04-1483 MHP, 2004 WL 2806175, at *5 (N.D. Cal. Dec. 6, 2004); see also

Graves v. Pau Hana Group, LLC, No. 2:13-CV-01278-JAM, 2013 WL 6000986, at *6 (E.D. Cal.

Nov. 12, 2013).

       45.     Ms. Dejban’s claim for failure to accommodate under Title VII fails because she

did not seek an accommodation and the Debtor did not refuse to provide her with an

accommodation. This claim also fails because Ms. Dejban has presented no evidence or even

alleged that the Debtor did accommodate others similar to her in their ability or inability to work.



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       46.       Ms. Dejban’s claim for failure to accommodate under the FEHA likewise fails

because Ms. Dejban did not request any accommodation related to her pregnancy and the Debtor

did not refuse any reasonable accommodation for a pregnancy-related condition. Further, Ms.

Dejban has not alleged and cannot show that she sought an accommodation at the advice of her

health care provider. Ms. Dejban’s claims for failure to accommodate her pregnancy fail as a

matter of law.

G.     Ms. Dejban’s Claims for Discrimination under the ADA Fail as a Matter of Law.

       47.       Without providing any evidence or supporting facts, Ms. Dejban alleges in a

general and conclusory fashion that Debtor regarded her pregnancy as a disability and asserts a

claim for discrimination under the Americans with Disabilities Act. The ADA prohibits employers

from discriminating “against a qualified individual on the basis of disability in regard to ...

discharge ....” 42 U.S.C. § 12112(a). The same burden shifting framework that applies to Title VII

cases applies to claims of discrimination under the ADA. Cannon v. Jacobs Field Servs., N.A. Inc.,

813 F.3d 586, 590 (5th Cir. 2016). In order to make out a prima facie showing under the

McDonnell Douglas framework for the claim that she was discriminated against because the

Debtor regarded her as disabled, Ms. Dejban must show that: (1) she was regarded as disabled (as

described in 42 U.S.C. § 12102(3)); (2) she was qualified for the job; and (3) she was subject to

an adverse employment decision on account of the perception of disability. Cannon v. Jacobs Field

Servs., N.A. Inc., 813 F.3d 586, 590 (5th Cir. 2016); 42 U.S.C. § 12102(1). An individual meets

the requirements of ‘being regarded as having such an impairment’ if the individual establishes

that he or she has been subjected to an action prohibited under the ADA because of an actual or

perceived physical or mental impairment whether or not the impairment limits or is perceived to

limit a major life activity. 42 U.S.C. § 12102(3). Ms. Dejban cannot establish any of the elements

of her prima facie case. The Debtor did not regard her as disabled and Ms. Dejban has not


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presented and cannot present any evidence showing that the Debtor regarded her as disabled. Also,

she was not qualified to provide general counsel services for Debtor. Finally, Ms. Dejban cannot

show that her contractual relationship with the Debtor was terminated because of a perception that

her pregnancy was a disability.

        48.     A discrimination claim under the ADA is subject to the same burden shifting

analysis as a Title VII claim. LHC Grp., 773 F.3d at 702 (citing Rachid v. Jack In The Box, Inc.,

376 F.3d 305, 312 (5th Cir. 2004) (citations and internal quotation marks omitted). As set forth

above, the Debtor terminated its contractual relationship with Ms. Dejban for legitimate, non-

discriminatory, non-retaliatory reasons and Ms. Dejban cannot show that the Debtor’s articulated

reasons for terminating its contractual relationship with her are pretextual.           Therefore,

Ms. Dejban’s claims under the ADA must fail as a matter of law.

H.      The Claim Are Duplicates.

        49.     The Claims are substantively duplicative of each other. As set forth herein, the

Debtor is not liable on the Claims and the Court should disallow both of the Claims for the reasons

set forth herein.

        50.     In addition, given the false nature of the basis of the Claims asserted, the Debtor

requests recovery of attorneys’ fees and costs associated with this Objection.

        WHEREFORE, the Debtor respectfully requests that the Court enter the Order filed with

this Objection granting the relief requested in this Objection, including awarding attorneys’ fees

and costs, and granting such other and further relief as is appropriate under the circumstances.




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                              Respectfully submitted,



                             /s/ Jennifer F. Wertz
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                             Jennifer F. Wertz (State Bar No. 24072822)
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                             Email: jwertz@jw.com

                             COUNSEL FOR THE REORGANIZED
                             DEBTOR
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                                     Certificate of Service

        I certify that on April 5, 2021, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas, and via regular mail and email upon the following:

       Hal Keith Gillespie
       Attorney for Bahar Dejban
       3403 Gaston Avenue
       Dallas, TX 75246
       hkg@gillespiesanford.com



                                                      /s/ Jennifer F. Wertz
                                                      Jennifer F. Wertz




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                             Exhibit A

                        Stallkamp Declaration
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    LAREDO DIVISION

                                                                   )
    In re:                                                         ) Chapter 11
                                                                   )
    VOLUSION, LLC1                                                 ) Case No. 20-50082 (DRJ)
                                                                   )
                            Debtor.                                )
                                                                   )

                        DECLARATION OF TIMOTHY STALLKAMP
               IN SUPPORT OF REORGANIZED DEBTOR’S OBJECTION TO THE
              PROOFS OF CLAIM NOS. 16, 21, AND 22 FILED BY BAHAR DEJBAN

I, Timothy Stallkamp, hereby declare under penalty of perjury:

             1.   I am the Chief Restructuring Officer of the Debtor and have served in this position

since June 24, 2020.

             2.   I am generally familiar with the Debtor’s operations, financing arrangements,

business affairs, and books and records that reflect, among other things, the Debtor’s liabilities and

the amount thereof owed to its creditors as of the Petition Date. I read the Reorganized Debtor’s

Objection to the Proofs of Claim Nos. 16, 21, and 22 Filed by Bahar Dejban (the “Objection”),

filed contemporaneously herewith.2

             3.   To the best of my knowledge, information, and belief, the assertions made in the

Objection are accurate. As such, I believe that the disallowance of the Claims on the terms set

forth in the Objection is appropriate.

             4.   The failure to disallow the Claims could result in the Claimant receiving an

improper recovery on account of the Claims, to the detriment of the Debtor’s other, similarly


1
  The Reorganized Debtor in this chapter 11 case, along with the last four digits of the Reorganized Debtor’s federal
  tax identification number, is: Volusion, LLC (9037). The Reorganized Debtor’s service address is 1835A Kramer
  Lane, Suite 100, Austin, TX 78758.
2
  Capitalized but undefined terms herein shall have the same meaning ascribed to them as in the Objection.


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situated creditors, and could delay the administration of the Debtor’s estate. Accordingly, the

disallowance of the Claims as requested in the Objection is appropriate.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the facts set forth in

the foregoing declaration are true and correct to the best of my knowledge, information and belief.



 Dated: April 5, 2021                     By: Timothy Stallkamp
                                          Timothy Stallkamp
                                          Chief Restructuring Officer
                                          Volusion, LLC




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                             Exhibit B

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                             Exhibit C

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                                           Attachment A

   I.      Personal Harm

        I am a female citizen of the United States and currently 41 years old. I was born in Tehran,
Iran in 1979. My first name, Bahar, is a uniquely Iranian name. My highest level of formal
education is a law degree from Loyola Law School, which I obtained in 2005.

                                      VOLUSION BACKGROUND

         On January 29, 2015, Main Street Capital Corporation (“Main Street”) announced it had
recently led a new portfolio investment totaling $45.0 million of invested capital in Volusion, LLC
(“Volusion”), with Main Street funding $31.5 million of the investment. The proceeds of the
investment were used to provide capital to fund Volusion's near-term growth opportunities. Main
Street's investment in Volusion included a combination of first-lien, senior secured term debt with
equity warrant participation and a direct equity investment. In addition, Main Street and its co-
investor provided Volusion a commitment for up to $10.0 million of additional capital to support
its future growth opportunities and have the ability to fund additional capital in the future if needed
to continue to support Volusion's growth. The press release for this transaction stated, “Main
Street’s investment supports Volusion’s current management team, which retained majority equity
ownership of the company.”

                               AT VOLUSION I WAS AN EMPLOYEE,
                              NOT AN INDEPENDENT CONTRACTOR

       I was General Counsel for Volusion, LLC (“Volusion”). I worked at Volusion as a lawyer,
as its General Counsel. I was hired as the General Counsel of Volusion in March 2019. My
hiring as General Counsel was approved by Volusion’s Board of Managers, which at the time
included Kevin Sproles (the founder and then the CEO and Dwayne Hyzak). I was a full-time
employee, not an independent contractor. While I served as General Counsel of Volusion,
Volusion had control of me. Volusion had the right to hire me, fire me, supervise me, and set my
schedule. Also, in terms of economic realities, I was an employee and not a mere independent
contractor as follows:

1. The kind of work I did as a lawyer, as General Counsel for Volusion, was typically done
under the supervision of the COO and the CEO – as with my predecessor who was a full time
salaried employee of Volusion. For the duration of my employment, I had a standing meeting
with either the CEO or COO on Fridays at 11am CST to update on my work, provide advice and
obtain approval. See #8 for list of work I was doing.

2. As General Counsel and c-suite employee, I was required to and possessed a high level of
skill in my job with Volusion.
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            a. I was hired as a general counsel, requiring me to oversee and tend to matters in
               various areas of law.

            b. I was also assigned various projects at the managerial level, and was brought into
               various arenas that are not typically general counsel work by multiple departments
               (See #8)
3. While working for Volusion, Volusion – my employer – furnished the equipment I used and
my place of work.

            a. Volusion furnished all equipment and local office, including my private office;

            b. The equipment furnished included, but was not limited to, the following:
                   i. A laptop and supporting equipment;
                  ii. A Volusion email address and signature line;
                 iii. A direct phone number at Volusion’s headquarters which rang at my private
                      office at that location;
                 iv. Access to Volusion’s Google Drive
                  v. Access to Slack -- a communication app that was used at Volusion for
                      people to communicate quickly and easily with each other. Slack allows the
                      user to create groups, different channels, make phone calls and share
                      documents.
                 vi. I was added to the same email/Slack channels that other employees were
                      on such as All Hands, SM Beats, and HR emails. All Hands were company
                      wide meetings where employees and leadership met to discuss company
                      matters. SM Beats were similar. Bottom line -- these were company
                      gatherings where all employees attended and I was also included in these.
4. I was employed at Volusion from March 2019 until July 27, 2020.
5. I was paid a monthly salary. My pay was not tethered to any project or time limitation. I was
given work and responsibility as needed and was paid the same salary whether I put in 40, 60, or
80 hours per week.
6.       I was terminated abruptly by email on July 27, 2020 effective at 9:15 a.m. CST by the new
CEO, Troy Pike, who was a member of the Board of Managers as of June 9, 2020. The letter
from Mr. Pike falsely states, “The Board of Managers of Volusion, LLC (“Volusion”) understands
that you have been providing services to Volusion through an independent contractor relationship.”
During the time that Pike (along with the other two new members of the Board of Managers,
Jeremy Rosenthal and Curt Lindeman) were over me at Volusion, I only talked to them once – a
long phone call on June 23, 2020. During that phone call, these guys asked about getting a copy
of my contract and kept referring to me as outside counsel. I kept correcting them and saying I
was full time general counsel for Volusion. They referred to my pay as a retainer and I clarified that
and said that I was paid a salary the same way that the previous GC was paid a salary, at the end
of each month for work that I did for the previous month. Mr. Pike sent two termination letters on
July 27, 2020, as a transparent effort to call me an independent contractor. He sent one termination
letter to DK Strategic Solutions LLC and a second letter to Bahar Dejban. He sent these as
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attachments to an email sent at 6:04 p.m. on July 27, 2020, addressed “Dear Bahar,” worded to try
to make it sound like I had not been an employee of Volusion. Mr. Pike’s email said:
       Thank you for your service to Volusion, LLC. Please find the attached letter (sic)
       which confirms the board’s decision to sever its relationship with Dejban Law and
       DK Strategic Solutions. Please call me with any questions that you may have.
I was an at-will employee of Volusion, having no employment contract between myself and
Volusion. There was a Independent Contractor Agreement between Volusion and DK Strategic
Solutions, LLC signed by Bardia Dejban as COO of Volusion and by me on behalf of DK Strategic
Solutions, LLC on March 15, 2019.
7.     I was entitled to whatever annual leave any other Volusion employee was entitled to. Every
leader at Volusion was provided with the option for unlimited paid time off. Only non-exempt
(hourly) employees would fill in timecards and time-off requests to reflect in pay checks. I was
gone for 2 weeks in August 2019 and Volusion still paid me my full monthly salary. I was a full-
time employee and team member.
8.     My work was an integral part of the business of my employer, Volusion: My work at
Volusion included but was not limited to:
        a. Reviewing, drafting and negotiating all contracts with vendors, customers, partners, and
all other third parties.
       b. Dealing with and managing all customer, vendor, partner and employee disputes.
       c. Managing and coordinating compliance requirements for the company including
Privacy, Data and ADA.
       d. Handling trademark and patent work.
        e. Handling/managing most legal claims. I handled and disposed of most matters in-house.
Those few I could not handle with internal resources, I would would submit to insurance and/or
outside counsel if applicable. At the time of my termination I was managing the security breach
that had occurred in October of 2019. This included micro-managing the messaging and
communication that was going out publicly and to our customers, both by Volusion’s internal
resources and coordinating with outside PR contractors. This also included communicating with
insurance, working with outside counsel, and managing a multimillion dollar class action that had
been filed against Volusion.
        f. Working with the sales department on the implementation price changes, contract
alterations, and various customer offerings.
       g. Working with the accounting department on whether we need to dispute or pay certain
invoices, as well as managing certain vendor contracts.
      h. Working with the Billing department closely regarding any questions/concerns
customers had with charges, managing responses, and dealing with billing/contractual disputes.
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       i. Working with the Partner department on contract terms with our partners.

        j. Working with the marketing department on appropriate marketing methods that do not
violate any anti-spam regulations, as well as addressing potential PR issues.
       k. Being generally available to all employees via email and/or phone and Slack for any
questions and/or concerns they have.
        l. Assisting People and Culture with HR issues. At the time of my termination I was in
the process of reviewing and updating the Employee Handbook for 2021. Prior to that I had
assisted with updating our policies as they relate to Covid.
       m. Updating Volusion’s online Terms of Service and Privacy Policies. I had recently
updated those due to changes from CCPA as well as new Partner Program that we had initiated in
approximately April of 2020.
       n. I had standing weekly meetings with either the COO or the CEO (every Friday at 11am
CST) to provide an update on all of the above.
9.       The intention of the parties with respect to my status at Volusion was that I perform as an
employee, notwithstanding the independent contractor agreement between Volusion and DK
Strategic Solutions, LLC. Volusion intended to replace its former GC – who was a full time
employee, when it hired me. I was personally approved by Volusion’s Board of Managers to serve
in this role. The role and expectations did not change from the previous GC to me. The job was,
and continued to be, one of a full-time employee. Volusion believed – even at my termination –
that I was an employee. Volusion sent a termination letter to me personally terminating my
employment. They separately sent a letter to DK Strategic terminating that contract.


      NEW LEADERS COME TO VOLUSION AND FIRE ME ALMOST IMMEDIATELY
               DUE TO MY PREGNANCY AND IRANIAN DESCENT

        By May 2020, my twin brother, Volusion’s CEO Bardia Dejban, had completely turned
around Volusion’s performance. By that time Volusion was for the first time in 4 years running a
positive EBITDA, and we had focused it for maximizing revenue from its legacy product. We
were on course to launch Volusion’s new product. Under Bardia Dejban’s leadership, Volusion’s
cash reserves had increased from about $4 million to nearly $8 million. As of this date, Volusion
had about 170 employees. Of these employees, only two, myself and CEO Bardia Dejban, were
of Iranian descent. We were both were born in Iran. I became the General Counsel of Volusion
in March 2019, when Bardia Dejban was the company’s COO.

        On June 9, 2020, Main Street’s CEO, Dwayne Hyzak, notified Bardia Dejban along with
Mr. Kein Sproles, Mr. Randon Kelly, and the Corporate Secretary of Volusion that it had changed
the Board of Managers (“the Board”) for Volusion and that the Board now was made up of Troy
Pike, Jeremy Rosenthal, and Curt Lindeman. All three of these are Caucasian males, born in the
United States.
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       In June 2020 I learned that the three new members of the Board of Managers were three
men: Curt Lindeman, Jeremy Rosenthal and Troy Pike. Until that point, my performance for
Volusion had been excellent, I had received very positive feedback about my performance and I
had no performance issues. In fact, due at least in part to my performance, I had increasingly been
given greater management duties as outlined above. I initially reported to the CEO (and Founder)
of Volusion, Kevin Sproles and the COO of Volusion, my twin brother, Bardia Dejban. After
Bardia Dejban became the CEO of Volusion, I reported to him directly.

        After the new Board of Managers and CRO Tim Stallkamp arrived at Volusion, these four
Caucasian born-in-the-United States males treated all the Volusion employees born in Iran badly,
while treating born-in-the-United States employees of Volusion well. The New Leaders
implemented a discriminatory double standard. While Pike, Rosenthal, Lindeman and Stallkamp
(collectively the “New Leaders”) were demanding, unreasonable, condescending, abrupt and rude
toward me and the other Iranian born employee of Volusion, my brother, Bardia Dejban, the New
Leaders treated the other Volusion leaders (non-Iranian born) politely and with deference. The
remaining leadership at Volusion (non-Iranian born) were able to put off requests from the New
Leaders for days and weeks. They could literally say, “I won’t have time to talk until next week”
and the response, time and again was “no problem. When next week.” The demands on Bardia
Dejban and me by the New Leaders, were abrupt, unreasonable and pretextual. The New Leaders
made a deliberate effort to manufacture a false “reason” for termination so they could assert falsely
that Bardia and I were “disengaged and disobedient officers.” Although the New Leaders did not
give me a reason for terminating me when they fired me by mail, “being disengaged and
disobedient” is the false and pretextual reason that Volusion offered in its Disclosure Statement in
Bankruptcy Court in the matter called In re Volusion, LLC, Chapter 11, Case No. 20-50082 (DRJ),
in the United States Bankruptcy Court for the Southern District of Texas, Laredo Division.

         From the time the New Leaders arrived at Volusion until my termination by letter
on July 27, 2020, I was engaged, obedient and cooperative with the New Leaders, despite
the fact that one or more of them often treated me in an arbitrary, demanding,
inconsistent and disrespectful manner. Volusion engaged in a pattern or practice of
retaliation and interference, not only punishing and firing Bardia Dejban for his protected
efforts to care for my nephews, his young sons, but also retaliating against and firing me
due to my pregnancy soon after it learned that I was pregnant.

        Shortly after learning of the Board change, I informed the new members of the Board of
Managers that I was pregnant and that I was experiencing complications from my pregnancy. They
reacted negatively, regarded my pregnancy as a disability, refused to accommodate my pregnancy,
and then they fired me due to my pregnancy and due to the fact that I was born in Iran. My brother
and I were the only Iranian born employees of Volusion and the new Board cleaned house - firing
us both by letter at the same moment - on July 27, 2020, effective at 9:15 a.m. Volusion used a
pretext to cover up their discriminatory actions, falsely claiming that my brother and I were
“disengaged and disobedient officers.” Volusion replaced me with a non-pregnant male General
Counsel.
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                 The New Leaders Begin to Set Up Bardia Dejban For Termination

        The day after Bardia Dejban’s first board meeting with the New Leaders, on Tuesday,
June 16, 2020 at 9:35 PM, Jeremy Rosenthal sent Bardia Dejban an email with voluminous
requests that would normally take weeks, and provided a deadline of next day Friday, by 2 PM
CST. This was a set up. First, this began a pattern by the New Leaders of building a paper trail
that they were seeking documents and trying to show they were not getting sufficient
cooperation, despite prompt and diligent efforts by both Bardia Dejban and me. Second, the
whole feverish document search was part of a pretext. Prior to Main Street inserting its
handpicked board (Pike, Rosenthal and Lineman) and its CRO -- Stallkamp, not only was Main
Street (through Main Street’s CEO, no less) a board member, but Volusion’s leaders had held
multiple talks with Main Street and provided them with virtually all of the information that the
New Leaders pressed to receive as if an emergency.

        For the New Leaders to suddenly claim that they were in dire need of information and
documents and that it had none in its possession after being interviewed and handpicked by Main
Street, and presumably after they themselves considered the position they were being offered is
incredible. They would have to claim that Main Street provided them with none of the
information in its possession and that they never sought any in accepting positions as the top
managers of Volusion. Their pretense that they took their positions without being provided with
or seeking any information or documents which were in the direct possession of their employer
(Main Street) defies credulity. Further, even assuming that the New Leaders were in need of
anything and that there was some huge urgency to obtain it, they could obtain the information
from their boss -- Main Street – and not declare an emergency that would override the efforts of
the existing leaders of Volusion to run the company. The argument that these New Leaders
walked onto their jobs sight unseen as the chief managers of a company in such dire straits that it
was on the verge of bankruptcy is absurd.

       Bardia Dejban replied to Rosenthal the next day before his 2 PM deadline. In the first
reply by Bardia Dejban, he let them know he was taking my son to the doctor for an emergency,
he had a severe ear infection and fever, and told Jeremy that he would reply as soon as he was
back. Bardia Dejban’s 9:18 AM email on June 17, 2020 said to Rosenthal:

       Jeremy:

       Taking my son to the doctor, he has a severe ear infection. I’ll reply to your
       email immediately after I return.

       Sincerely,

       Bardia

(Emphasis added.)
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        Bardia Dejban’s next email to Rosenthal was also ahead of his 2 pm deadline. CEO Dejban
sent his email at 11:18 AM. It was an earnest attempt to cooperate and to work fast and also to
remind the New Leaders of his sons’ health issues and needs. CEO Dejban let them know that he
was not allowing enough time to turnaround requests under normal circumstances, and that he was
going through extraordinary circumstances. Historically, the information Rosenthal requested
would take an 8-week process to turnaround. CEO Dejban reiterated his family responsibilities, to
his boys, aged 2 and 7. Bardia Dejban’s email to Rosenthal said:

       Jeremy:

       As CEO, I need to balance operating the company as well as fulfilling these
       requests. I’m a very hands on leader, which is part of the reason I was elevated to
       CEO. I take great care to be involved in and shape each part of the organization to
       assure that it is heading for success.

       Regardless, in just 24 hours, I’ve now met with all parties requesting meetings
       and begun preparing next steps. Based on our meetings, I felt like we are being
       collaborative and communicating openly, something foundational to our culture
       code.

       While I am giving you and Tim my highest priority, there are other business items
       that I cannot merely ignore. I'm moving as fast as physically possible to
       compile information and populate drives. I’ll be able to create a Google Drive
       for the Board and begin populating the requested information by the end of
       business today. I’m targeting to have all requested information by the end of this
       week, possibly Friday AM in preparation for our meeting on Monday.

       I would appreciate the opportunity to correct the record in regards to Conway
       Mackenzie. I did not report that the information was readily available, I let Tim
       know our form NDA was readily available and that we would begin our PCI
       procedure, which starts with a background check. This is something we have
       never bypassed as a PCI compliant organization. All contractors that have access
       to the information he is requesting must go through this process. Is your
       instruction that we bypass this security process? My concern is that doing so may
       jeopardize our compliance status while only saving a few days. Candidly,
       historical board members at Volusion have also gone through this background
       check.

       Given that he had not specified a length of time, and had shortly before the call
       sent me his document requests, Tim seemed amenable to the 30 minute meeting.
       On the items Tim requested, I just wanted to give some background. It took
       us over 8 weeks to deliver that information to Raymond James last year
       during our process. During that time, I was the person responsible for
       aggregating a significant majority of that information, and can do so
       efficiently. While I’ll work to expedite this process, it is likely going to be in
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       batches over the next 4 weeks. Also, Tim never requested to have unfettered
       access to anyone from leadership. Considering the above miscommunication, I
       will endeavor a better job of documenting future communications so as to avoid
       further miscommunication.

       As I informed you during our meeting, based on the way Volusion has operated
       historically, I firmly believe that introducing and/or creating direct reports for
       Tim, or any of this structure by the management team at Volusion at this time will
       be incredibly disruptive, and will lead to a catastrophic deterioration in key
       metrics and hinder rock completion for the organization. This is the reason I asked
       to be allowed to think through how best to achieve this. I’ve been thinking
       through how to do this, and when, in an appropriate way. This will also personally
       tie me up with questions and uncertainties of the future of the organization,
       potentially leading to even further disruption and missed performance. This
       should be an area we dig into on Monday.

       In general, a majority of the management team is very focused and is taking
       on some additional roles, all part of the plan to rebuild the organization from
       within in preparation for our go-to-market with VOLT. There is an
       incredible new energy within the organization, but this is also an incredibly
       time consuming process for me, as CEO, to ramp up, cast vision and provide
       clear direction for each management team member, as well as establishing
       processes (EOS) as our guiding light to success for the organization. As you
       stated, we want to all make Volusion successful. I ask a little of your indulgence
       considering my years of being immersed in this company, its business, and
       building its culture. I’m taking your requests seriously and making them my
       top priority, while also balancing above. I also have to assure that this
       process does not interfere with my responsibilities to my two boys, aged 2
       and 6.

       Sincerely,

       Bardia

(Emphasis added.)

        On June 18, 2020 Troy Pike texted Bardia Dejban at 6:48 PM, saying, “Please call me
this evening if possible. If not possible, please let me know.” CEO Dejban was still caring for
his son with a severe ear infection. With COVID, Bardia’s 2-year old’s daycare was closed, so
this became a huge challenge for his family, trying to provide different levels of care for a sick 7-
year-old and demanding 2-year-old, combined with COVID and their underlying health
conditions (severe asthma, food allergies). Bardia Dejban replied that evening: “With the kids. I
can call you at 8 AM tomorrow.”
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       Pike replied with pressure and a veiled threat: “My normal response would be yes, of
course. But it is clear to me now that you aren’t grasping how critical time is for you right now.”
CEO Dejban called Pike at 8 AM the next morning. He did not accept Bardia’s call.

        Then Pike sent CEO Dejban another text, making it sound like he failed to call him.
Pike’s text said: “Awaiting your call.”

       CEO Dejban called him again. He answered and was abusive. Pike told Bardia on the
phone call: “Either you don’t understand the gravity of the situation or you don’t care.” He also
told Bardia, “There’s a new sheriff in town.”

        This kind of talk was part of Pike’s pattern and it was prompted by his national origin
discrimination and his negative reaction to Bardia’s efforts to care for the health of his family.
Pike would pretend to be friendly then he would tell Bardia that he needed to do something right
away or else. In that early phone call the morning of June 19, 2020, Pike asked Bardia to
introduce Tim Stallkamp and Wayne Scott. Baradia did what he asked, and Bardia’s response to
Pike at 8:24 AM confirms that and notes his threat to Bardia:

       Troy:
       I committed to introducing Tim and Wayne, and I did. You rejected my call
       today.
       I don’t understand why you have to threaten me?

       Sincerely, Bardia

        On June 19, 2020, the New Leaders passed a “Unanimous Written Consent of the Board
of Managers of Volusion, LLC,” a document that was directly retaliatory to the efforts of Bardia
Dejban to care for his sons’ health issues during the pandemic – it severely limited his abilities to
perform his job as CEO. Pike’s email essentially admitted this retaliation. Pikes” June 19, 2020
(4:35:01 PM) email stated: “your insufficient level of responsiveness and execution on board
directives causes the board great concern.”

                               The New Leaders’ Campaign Against Me

       On June 19, 2020, the New Leaders began a campaign against me. One of the
New Leaders, Curt Lindeman, wrote to me, misstating my role (calling me “outside
general counsel” when I was full time and not an “outside” General Counsel of
Volusion). Lindeman’s email (of 8:59 AM) said:

       I am one of the members of the Board of Managers of Volusion (the other 2 are
       copied on this email). The Board asked David Snyder (also copied), with Jackson
       Walker (company counsel), to contact you. I understand that you are operating
       as the full-time outside general counsel of Volusion. We really need you to at
       least touch base with David this morning (preferably within the hour) so we can
       start to understand the legal issues currently facing the company.
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       If there are significant legal issues that would prevent such a call this morning, we
       obviously need to know asap.

       I look forward to working with you.

(Emphasis added.)

      I responded to Lindeman on June 19, 2020 (at noon), referring to David Snyder as
“David” as follows:

       I emailed David for available times. Unfortunately, I have personal medical
       issues to tend to as I am pregnant. David is welcome to contact me directly. I
       will endeavor to connect with him at the first possible time.

       Thank you for your consideration. I too look forward to working with you.

(Emphasis added.)

        The New Leaders viewed the news that I was pregnant negatively and with
hostility. None of the New Leaders ever congratulated me on my pregnancy, asked me
about accommodations I would need or might need, or even asked me how far along I was
in my pregnancy. This would have been the first step in a discussion about
accommodations. In fact, none of the New Leaders ever mentioned my pregnancy except
in a dismissive way that suggested that being pregnant was inconvenient and the same as
not being pregnant but facing COVID issues with the rest of the population. Lindeman
said he could “understand and sympathize with family obligations” and dismissed my
pregnancy (and Bardia’s son’s health issues) by saying, “We are all trying to juggle family
obligations during this strange time.” Later he made a similar statement to CEO Bardia
Dejban in a meeting when Bardia talked about the medical issues facing his sons that he
was trying to handle. Lindeman said to Bardia, “We’re all in the same boat.”

       On July 8, 2020 (at 4:44 PM) , Lindeman wrote a condescending, critical, and
dismissive email to Bardia and me. Lindeman’s email stated:

       I can understand and sympathize with family obligations. We are all trying to
       juggle family obligations with work during this strange time. However, these
       delays by both you and Bahar for weeks are not acceptable. If these requests were
       made of me as a GC, I could send out the documents within minutes from
       anywhere there is a cell signal.

       If you can't do it, please direct people on your team to send me the documents
       today.
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        I had not delayed anything for weeks. I promptly responded, objecting to Lindeman’s
email and pointing out my pregnancy and the fact that I had been experiencing complications
and difficulties with her pregnancy over the past weeks. My email of July 8, 2020 (at 5:39 PM)
told Lindeman:

       Curt,

       I do not appreciate your misrepresentations. This is the first request I have
       received for contracts with major vendors or engagement letters with law firms. I
       was asked for a list of law firms that are or have recently been engaged. And I
       provided that to you last week.

       I also informed you in our conference call that I do not have access to
       employment agreements, and nevertheless, you requested those from me.

       Finally, I have been working full time for Volusion, and as I have told you, I
       am pregnant and have experienced some complications and difficulties with
       my pregnancy over the past weeks. Regardless, I have continued to respond to
       all of Tim's requests, including providing him with complete access to a drive of
       intellectual property material along with corresponding engagement letters last
       night.

       I can get you the retainer agreements for lawyers I have engaged, other than the
       patent lawyer which you now already have as of last night. I will have to search
       for agreements with lawyers that were engaged prior to my employment but that
       are still doing work for Volusion.

       I take my job as General Counsel of Volusion VERY seriously and would
       appreciate it if you wouldn't misstate things and conflate your previous role as GC
       with the work I am doing. We have different jobs and obviously different styles. I
       have and will continue to timely respond to all requests while managing my other
       duties.

(Emphasis added.) I copied all the New Leaders on this email.

       None of the New Leaders responded with any effort to accommodate my
pregnancy and its complications. Volusion’s response, much like – “Oh, you’re pregnant
– thanks for that information – you’re fired – we will replace you with a non-pregnant
man” -- very shortly thereafter, was to fire me without providing me any reason and
without prior warning on July 27, 2020.

       Bardia’s Written Notice to the New Leaders of FMLA/ FFRCA Needs

        On July 8, 2020 CEO Dejban put the New Leaders on written notice that he was taking
time to care for his sons and that they suffered from “medical conditions that are directly
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impacted by COVID-19 and Stage 5” (referring to the shutdown that caused serious issues with
obtaining essential food for Bardia’s sons that would not trigger severe allergic reactions). At
7:04 PM on July 8, 2020 Bardia sent this email to all 4 of the New Leaders:

       Curt, Troy, Jeremy and Tim:

       Replying to an email Tim had sent while I was on PTO.

       Just getting back from my son’s doctors appointment. Earlier today, Austin
       confirmed Stage 5 approaching within the next couple days if not tonight. I
       am spending the remainder of the week working on Q3 priorities with the
       executive team, and taking care of my family in preparation for Stage 5. As I
       mentioned before, my children have medical conditions that are directly
       impacted by COVID-19 and Stage 5.

       Let's schedule a meeting by video for Monday, July 13th? I can free up any block
       of time that works for you. If we have time, I would also like to cover our VOLT
       go-to-market plans, including Q3 revenue stability, which I’m also finalizing.

       Sincerely,

       Bardia

(Emphasis added.)

         None of the New Leaders responded with any effort to accommodate Bardia’s
FMLA/ FFRCA needs (instead, they responded with hostility). Jeremy Rosenthal’s email
to Bardia at 8:34 PM on July 8, 2020 deliberately missed the point – that Bardia’s sons
were especially impacted by COVID-19. Rosenthal glibly said, “Please stay safe. We
understand that with Covid this is a very challenging time.” Generally, the emails from
the New Leaders treated Bardia’s efforts to take care of his family as an inconvenience
and/or as a lack of cooperation. Volusion’s ultimate response, very shortly thereafter, was
to fire CEO Dejban, as it fired me, without providing any reason and without prior warning
on July 27, 2020.

        On July 13, 2020 via Bardia’s 7:55 AM email, Bardia put the New Leaders on further
written notice of his FMLA/ FFRCA needs. Bardia sent them this email letter:

       Curt, Jeremy, Troy, Tim:

       Wanted to get this to you first thing this AM. I mentioned Friday that I would be
       working over the weekend on various initiatives. As you know, Volusion
       measures success based on our 5+1. If you look at our financials and board
       materials, we have been targeting and exceeding EBITDA margin goals since Q4
       2019; with Net Income posted in May for first time in over a year. Additionally,
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     we have brought revenue green shoots online for partner and ecosystem lines, all
     part of the plan we had laid out late last year. While it’s been great to see our plan
     working, we still have immediate revenue stabilization initiatives targeting
     ~$500k additional revenue through Q4. But our largest revenue driver will be
     VOLT GTM.

     There are also key elements of the revenue stability plan and our VOLT GTM that
     need to be detailed. The management team feels that we are on the right path and
     results are already validating that belief. Our CFO had mentioned to Tim that he
     would have models by July 24th, which I've attempted to help accelerate. We are
     also finalizing June numbers this week. Once I receive all of those pieces of
     information, I'll need to incorporate them into the board presentation as well as
     implement into the overall organizational plans.

     At the same time I need to bring to your attention that my time this week will
     be diverted to speaking with several members of the leadership team in an
     effort to ameliorate some of the damage and reduce the anxiety that has
     occurred by the recent events. Of particular concern is the effect that Tim’s
     communications have had on the management team. He has not only injected
     derogatory information, which is frankly unnecessary, but also has shared a
     board resolution document. To put it simply, they are now uncertain of the
     future of Volusion and their own commitment to what has been a less than
     clear and mixed message. This has significantly impacted the work
     environment, including directly impacting Q3 rocks. The team as you must
     know, are critical members of the organization who were contacted against my
     advice and counsel.

     Finally, it has been brought to my attention that legal representatives of various
     entities will be having a discussion tomorrow at 4 CST. I feel caught in the middle
     of this, but more importantly, need to have some understanding of what is going
     on so I can effectively perform my duties and continue the turnaround. Truthfully,
     I am also separately troubled by the fact that the board, two members of which are
     attorneys, along with their counsel wish to have a meeting with me and insisting
     that I appear without counsel. I am extremely uncomfortable with the legal
     maneuvering and factions, and must admit that I am completely out of my
     element. It is crucial that I focus on my job to keep moving Volusion to increased
     profitability and growth, and leave the legal matters to the experts, at least until I
     have better clarity.

     Personally, as I have mentioned, COVID-19 continues to cause extreme
     uncertainty and anxiety for my family, especially given my young sons’
     health issues. Also as I wrote Friday, Austin will be moved back to a Stage 5.
     Given all of these considerations combined with COVID-related family issues, I
     am asking that you move our meeting to the end-of-the month. In the meantime I
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       will speak with Tim as scheduled this morning who I’m sure will report back on
       our conversation.

       Sincerely,

       Bardia

(Emphasis added.)

        None of the New Leaders responded with any effort to accommodate Bardia’s FMLA/
FFRCA needs. Emails from the New Leaders treated Bardia’s efforts to take care of his family as
an inconvenience and as a lack of cooperation. Volusion’s ultimate response, very shortly
thereafter, was to fire Bardia and me without providing any reason and without prior warning on
July 27, 2020.

                        The New Leaders Terminate Bardia and Me
                       And Try To Cover Up Bardia’s National Origin

       On July 17, 2020, Bardia Dejban attended another Board meeting. Nothing was said at
that meeting to alert him to the fact that the New Leaders were about to fire him, Kevin Sproles
and me and to put Volusion in bankruptcy, despite the fact that Volusion was doing well as a
business and did not need to take bankruptcy to avoid foreclosure.

        On July 23, 2020 at 1:46 PM, Stallkamp emailed me about patent attorneys. At 2:21 PM,
Bardia emailed the New Leaders about the Board Meeting agenda for the board meeting that would
take place later in the day. Bardia’s email to them said:

       Troy, Jeremy, Curt:

       The agenda for today’s call will be to focus on Q2 2020 preliminary 5+1 impact.
       If we have time, I’d also like to discuss VOLT.

       I’m also attaching/responding to the the following requests:

       Volusion feature matrix (attached)

       Market penetration in Apparel category

       _        23% of our customers are in this segment today

       -        $2m-50m GMV apparel merchants in U.S. is ~1,237

       -        We have 200 today (16% market penetration)

       Sincerely, Bardia
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       Troy Pike emailed back to Bardia in response five minutes later without any hint that
anything was afoot. Pike’s 2:26 PM email said:

       Thank you, Bardia. We should also reserve five minutes to discuss the
       forbearance agreement and its objectives.
       Best,
       Troy

        Pike’s reference to the forbearance agreement related to the agreement Main Street,
Volusion’s lender, had made that it would not seek to foreclose on the loan due to default
on payment obligations by Volusion. Despite this agreement, Tim Stallkamp (CRO) told
Bardia shortly before the Board meeting that he needed someone to wire over $800,000 to
Main Street as a peace offering. He also said the Board gave him authority to sign the
agreement but not to wire the funds. Bardia asked why we had to pay anything to Main
Street since Volusion had a forbearance back in April. Stallkamp said it was different now
that the new Board was here. Bardia told him he would need to follow up with Kevin
Sproles, the founder since Bardia did not have bank account access. Tim told Bardia that
Main Street would take action against Volusion if it did not do so by end of week. That
made no sense in light of the forbearance agreement, and Stallkamp’s suggestion that
Bardia wire this money was a transparent effort to set up Bardia with a pretext to justify
termination.

        What Stallkamp was saying to Bardia before the July 23 Board meeting was a transparent
attempt to set up Bardia as a pretext for firing him to cover up unlawful reasons. This was obvious
for several reasons. First, Bardia had no rights over bank accounts. Second, the Board’s
resolutions made Stallkamp the boss of finance and the direct boss of Volusion’s Director of
Finance. Third, as Stallkamp knew, under the Board’s resolutions, Bardia was not authorized to
spend more than $25,000. Fourth, if Main Street was going to foreclose on its loan, it would not
have gone through the time and expense of putting the New Leaders in place. If that was the plan,
Main Street would have just foreclosed. It would just send Volusion a letter saying send us a
specific amount of money, or we’re going to foreclose. It had not done so. Fifth, as an officer of
Volusion, Bardia had had an obligation to protect the company and the majority shareholder, and
Volusion had a forbearance with Main Street.

        The Board meeting on Thursday, July 23, 2020 lasted less than 35 minutes.
Stallkamp and his assistant joined this Board call as well. Bardia had let them know that
he would taking PTO (Paid Time Off) on Friday, to help with his boys’ medical issues.
They said nothing positive and seemed unhappy about this development, like they were
tired of dealing with this inconvenience.

        At the Board meeting of July 23, none of the New Leaders mentioned anything
about Volusion filing for bankruptcy. They did not mention that they were considering
firing me. They did not mention they were considering firing the Founder, Kevin Sproles.
They did not mention that they were considering firing CEO Bardia Dejban or that this
would be his last work day as an employee of Volusion.
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        At the July 23 Board meeting, Bardia went through the details he had proposed in
the agenda he had sent them before the meeting. The Board started by asking if they should
discuss the payment to Main Street first, and Bardia recommended moving along with the
agenda he had proposed. The Board seemed disinterested in any topics Bardia discussed,
then the Board switched topics and asked Bardia to wire the money to Mainstreet Capital.
Bardia told them he did not want to be put in the middle of Main Street and the founder
(Kevin Sproles) and that he would need to talk with Kevin to understand where that all
stood. Jeremy Rosenthal and Curt Lindeman asked Bardia, “as the highest-ranking officer,
you can’t wire this payment?” Bardia told them that he would follow-up after he had a
chance to speak with the founder (who had bank account access) because Bardia didn’t
want to get in the middle of legal challenges between the founder and Main Street. The last
thing Troy Pike said was at the Board meeting was, “Gentlemen, the three of us should
discuss what is going to happen Monday when Main Street doesn’t receive their payment.”
Jeremy Rosenthal closed the meeting by saying “Thanks for your time Bardia.”

       At 5:53 pm, I responded to Stallkamp’s email – all in a normal, business-like way.

      I got no communication from any of the New Leaders after the Thursday, June 23, 2020
Board meeting.

                      The New Leaders Terminate Bardia and Me
         And Try To Cover Up Our National Origin and Because of My Pregnancy

       On July 27, 2020, Troy Pike notified Bardia that he was fired by email. His email enclosed
a termination letter. It did not provide a reason for termination.

        Troy Pike also notified me on July 27, 2020 by email that I was fired. He did so in a way
that was calculated to try to make it appear that I was not an employee, but merely an independent
contractor – which is false. First, by electronic mail Pike sent a message to “DK Strategic
Solutions LLC” that falsely stated, “The Board of Managers of Volusion, LLC (“Volusion”)
understands that you have been providing services to Volusion through an independent contractor
relationship.” I had specifically confirmed to the New Leaders that I was a full time employee,
the General Counsel, and not “outside counsel.” Then Pike’s letter said:

        This letter serves as notice that your contractual, and any other relationship you have with
Volusion, ended effective as of 9:15 a.m. Central Standard Time on July 27, 2020 (the
“Termination Time”). After the Termination Time, you will no longer be entitled to any further
compensation or benefits from Volusion and are no longer authorized to act on behalf of Volusion
or represent yourself to be an agent of Volusion. Also, you are no longer authorized to access any
Volusion systems or accounts, including but not limited to email systems, voicemail systems,
document management systems and financial accounts.

       Knowing that Volusion had not been dealing with “DK Strategic Solutions LLC,” but
with me, Pike simultaneously sent a letter to me, “Bahar Dejban.” Pike’s letter contained the
same false independent contractor sentence and the other information about “notice that your
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contractual, and any other relationship you have with Volusion, ended effective as of 9:15 a.m.
Central Standard Time on July 27, 2020” as his letter to DK Strategic Solutions LLC. None of
the New Leaders, and nobody on behalf of Volusion called me or contacted me otherwise about
my termination. Volusion did not provide a reason for terminating me.

        The New Leaders promptly took actions and made statements that show the termination
decision was motivated by my pregnancy and by hostility to the national origin of two of the
three people (Bardia Dejban and me) that it fired in “leadership changes” it connected to its filing
for bankruptcy the same day that it fired Bardia Dejban, Kevin Sproles, and me.

       First, on information and belief, Volusion selected a non-pregnant male, David Snyder, to
replace me as General Counsel.

       Second, to make it seem like nothing was “wrong” at Volusion, the Company published
information about its Chapter 11 bankruptcy filing under the heading “Frequently Asked
Questions.” Voluson’s “answers” did not hint that the “reason” for firing Bardia Dejban or me
was that it was facing “disengaged and disobedient officers.” I have a distinctly Iranian name –
Bahar Dejban. Volusion did not mention it in its “answers.” Nor did it mention that it had fired
Volusion’s General Counsel. Volusion falsely stated that to get bankruptcy protection in place
for Volusion,

       we made some difficult, but necessary and immediate leadership changes.
       Effective July 27, Kevin Sproles and Bardia Dejban are no longer with the
       company. We know this may have a personal impact on some of you with long-
       standing relationships, as well as to our tight-knit organization overall. Kevin
       and Bardia have been important leaders at Volusion and we are
       tremendously thankful for their significant contributions. While they are no
       longer formally a part of Volusion, the belief in the company, the importance of
       the culture and the mission they inspired will remain. Our goal is to honor
       what they helped to create by making sure the restructuring process is successful
       and Volusion can thrive going forward.

(Emphasis added.)

        As for the “reason” for the bankruptcy and its timing, Volusion’s “answers” stated: “The
company has matured debt and has not been able to make repayment terms.” The “answers” did
not assert the reason was insufficient collaboration or cooperation from any of existing
management or that it was faced with “disengaged and disobedient officers.”

        Third, at about the same time, Volusion took a deliberate action (when coupled with its
act of hiding my name as it fired me) to hide my Iranian national origin from the public. When
Bardia became CEO of Volusion, the company posted a letter from Bardia on its blog, for the
viewing world’s information. The title of the letter was “Day One – New CEO / Volusion.”
Page 1 of that letter contained this:
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       Dear Founders, Partners and Employees:

       As I take this new role of CEO, I look back at the past three years and am
       thankful for the opportunity to work with so many of you directly. Today is an
       exciting and humbling day for me, and even though I’ve been a part of all the
       amazing changes at Volusion these past few years, it feels very much like a brand
       new day. Like all of you, I have a choice in what I do, and choosing Volusion to
       be a part of my future has very much been shaped by my past as well as my
       passion for entrepreneurship. These values are shared not only with our founder,
       Kevin, but also reJected by everything we do as an organization.

       I came to the United States in 1979 to escape turbulent times from Iran and
       grew up in Southern California. I come from a hardworking family with the grit
       to launch and grow their own businesses. I’ve launched my own successful
       companies, brought hundreds of products to market, and have helped other
       founders and entrepreneurs do the same. I’m a devoted technologist with a diverse
       product and engineering background and have solid business experience
       (including failures). More importantly, I have a deep understanding of the needs
       of our thousands of customers and take great pride in helping them succeed. I
       currently live in Austin, Texas with my wife of eight years, two boys and 15-year
       old Jack Russell Terrier.

(Emphasis added.)

        During Bardia’s tenure with Volusion since he began in January 2016, when an
employee left Volusion, Volusion left their articles and content live on its digital footprint,
most often times under their name. This was Volusion’s way of honoring them and
showing off the talent and culture of the company. Within a week or two of Bardia’s
firing, Volusion removed his “Day One” letter from its website.
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       Shortly after firing the company’s only Iranian-born employees, Bardia Dejban and
me on July 27, 2019, and announcing to the world that its “immediate and necessary
leadership change” including Kevin Sproles no longer being with the company, Volusion
rehired Sproles. So, its leadership changes eliminated only Iranian-born company
employees.

        Then Volusion falsely stated to the public the reason Bardia, and implicitly I,
were fired. In its public bankruptcy filing of November 2, 2020, signed by Troy Pike as,
Interim Chief Executive Officer, Volusion stated:

       Despite the restructuring efforts of the Debtor, the reconstituted Board
       and CRO did not receive sufficient collaboration or cooperation from
       certain members of then (pre-petition) existing management. It
       became increasingly more difficult for the Board to fulfill its duties and
       take the steps necessary to maintain the value of the Debtor. The Debtor
       was faced with disengaged and disobedient officers and Secured
       Lenders who had already exercised remedies with regards to its matured
       loan facility. As a result, the Debtor filed this Chapter 11 Case to
       prevent a foreclosure from occurring and to effectuate a restructuring,
       which will leave the Debtor’s balance sheet strong and allow the Debtor to
       effectively address its matured loan facility and prevent further exercise of
       remedies by the Secured Lenders.

(Emphasis added.).

         Mr. Pike’s statements in the November 2, 2020 filing are false. With the
forbearance agreement in place, filing for bankruptcy when Volusion did was not necessary
to prevent foreclosure. The “disengaged and disobedient” reference to Bardia is contrary
to Volusion’s “answers” shortly after firing him and is a lie Volusion is telling as a pretext
for firing Bardia Dejban and me because of our national origin, because of my inconvenient
and aggravating (to the New Leaders) pregnancy, and because of Bardia’s inconvenient
and aggravating (to the New Leaders) efforts to care for the serious medical issues of his
young sons during the COVID-19 pandemic.

                                  DISCRIMINATION STATEMENT

      I believe I have been discriminated against and terminated by Volusion because of my
national origin and my pregnancy (which Volusion regarded as a diability) in violation of Title
VII of the Civil Rights Act of 1964, the California Fair Employment and Housing Act (“CFEHA”),
Government Code Section 12900, et seq., and the Americans with Disabilities Act of 1990
(“ADA”), 42 U.S.C. §§ 12101, et seq. as amended,

        My name is Bahar Dejban, my date of birth is 1979, and my address is 16061 Royal Oak
Drive, Encino, CA 91436, in the United States of America. I declare under penalty of perjury that
the foregoing is true and correct.
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                             Exhibit D

                        Proof of Claim No. 21




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3@6E3;6F:3F"I3EB3;63E3>3DKF:7E3?7I3KF:3FF:7BD7H;AGE I3EB3;63E3>3DK 3FF:77@6
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>7367D3F/A>GE;A@I3EBDAH;676I;F:F:7ABF;A@8ADG@>;?;F76B3;6F;?7A88 (@>K@A@ 7J7?BF
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9A@78ADI77=E;@G9GEF 3@6/A>GE;A@EF;>>B3;6?7?K8G>>?A@F:>KE3>3DK "I3E38G>>
F;?77?B>AK773@6F73??7?47D 

   &K IAD= I3E 3@ ;@F79D3> B3DF A8 F:7 4GE;@7EE A8 ?K 7?B>AK7D  /A>GE;A@  &K IAD= 3F
/A>GE;A@;@5>G6764GFI3E@AF>;?;F76FA

        3 +7H;7I;@9 6D38F;@93@6@79AF;3F;@93>>5A@FD35FEI;F:H7@6ADE 5GEFA?7DE B3DF@7DE 3@6
3>>AF:7DF:;D6B3DF;7E 
        4 73>;@9I;F:3@6?3@39;@93>>5GEFA?7D H7@6AD B3DF@7D3@67?B>AK776;EBGF7E 
       5   &3@39;@9 3@6 5AAD6;@3F;@9 5A?B>;3@57 D7CG;D7?7@FE 8AD F:7 5A?B3@K ;@5>G6;@9
)D;H35K 3F33@6 
        6 !3@6>;@9FD367?3D=3@6B3F7@FIAD= 
        7 !3@6>;@9 ?3@39;@9?AEF>793>5>3;?E ":3@6>763@66;EBAE76A8?AEF?3FF7DE;@ :AGE7 
-:AE787I"5AG>6@AF:3@6>7I;F:;@F7D@3>D7EAGD57E "IAG>6IAG>6EG4?;FFA;@EGD3@573@6 AD
AGFE;675AG@E7>;83BB>;534>7 FF:7F;?7A8?KF7D?;@3F;A@"I3E?3@39;@9F:7E75GD;FK4D735:
F:3F :36 A55GDD76 ;@ (5FA47D A8     -:;E ;@5>G676 ?;5DA ?3@39;@9 F:7 ?7EE39;@9 3@6
5A??G@;53F;A@ F:3F I3E 9A;@9 AGF BG4>;5>K 3@6 FA AGD 5GEFA?7DE  4AF: 4K /A>GE;A@RE ;@F7D@3>
D7EAGD57E3@65AAD6;@3F;@9I;F:AGFE;67)+5A@FD35FADE -:;E3>EA;@5>G6765A??G@;53F;@9I;F:
;@EGD3@57 IAD=;@9I;F:AGFE;675AG@E7> 3@6?3@39;@93?G>F;?;>>;A@6A>>3D5>3EE35F;A@F:3F:36
477@8;>76393;@EF/A>GE;A@ 

        8   0AD=;@9 I;F: F:7 E3>7E 67B3DF?7@F A@ F:7 ;?B>7?7@F3F;A@ BD;57 5:3@97E  5A@FD35F
3>F7D3F;A@E 3@6H3D;AGE5GEFA?7DA887D;@9E 

       9 0AD=;@9I;F:F:7355AG@F;@967B3DF?7@FA@I:7F:7DI7@776FA6;EBGF7ADB3K57DF3;@
;@HA;57E 3EI7>>3E?3@39;@957DF3;@H7@6AD5A@FD35FE 
      :   0AD=;@9 I;F: F:7 ;>>;@9 67B3DF?7@F 5>AE7>K D793D6;@9 3@K CG7EF;A@E 5A@57D@E
5GEFA?7DE:36I;F:5:3D97E ?3@39;@9D7EBA@E7E 3@6673>;@9I;F:4;>>;@9 5A@FD35FG3>6;EBGF7E 
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        ; 0AD=;@9I;F:F:7)3DF@7D67B3DF?7@FA@5A@FD35FF7D?EI;F:AGDB3DF@7DE 

        < 0AD=;@9I;F:F:7?3D=7F;@967B3DF?7@FA@3BBDABD;3F7?3D=7F;@9?7F:A6EF:3F6A@AF
H;A>3F73@K3@F; EB3?D79G>3F;A@E 3EI7>>3E366D7EE;@9BAF7@F;3>)+;EEG7E 
       = 7;@997@7D3>>K3H3;>34>7FA3>>7?B>AK77EH;37?3;>3@6 ADB:A@73@6,>35=8AD3@K
CG7EF;A@E3@6 AD5A@57D@EF:7K:3H7 

        > EE;EF;@9)7AB>73@6G>FGD7I;F:!+;EEG7E FF:7F;?7A8?KF7D?;@3F;A@"I3E;@
F:7 BDA57EE A8 D7H;7I;@9 3@6 GB63F;@9 F:7 ?B>AK77 !3@64AA= 8AD    )D;AD FA F:3F " :36
3EE;EF76I;F:GB63F;@9AGDBA>;5;7E3EF:7KD7>3F7FAAH;6 
       ?   .B63F;@9 /A>GE;A@RE A@>;@7 -7D?E A8 ,7DH;57 3@6 )D;H35K )A>;5;7E   " :36 D757@F>K
GB63F76F:AE76G7FA5:3@97E8DA?)3EI7>>3E@7I)3DF@7D)DA9D3?F:3FI7:36;@;F;3F76;@
3BBDAJ;?3F7>KBD;>A8  
       @ ":36EF3@6;@9I77=>K?77F;@9EI;F:7;F:7DF:7((ADF:7(7H7DKD;63K3F3?
,-FABDAH;673@GB63F7A@3>>A8F:734AH7 

       -:7;@F7@F;A@A8F:7B3DF;7EI;F:D7EB75FFA?KEF3FGE3F/A>GE;A@I3EF:3F"B7D8AD?3E3@
7?B>AK77  @AFI;F:EF3@6;@9 F:7 ;@67B7@67@F 5A@FD35FAD 39D77?7@F 47FI77@ /A>GE;A@ 3@6 $
,FD3F79;5 ,A>GF;A@E  %%   /A>GE;A@ ;@F7@676 FA D7B>357 ;FE 8AD?7D  O I:A I3E 3 8G>> F;?7
7?B>AK77 I:7@;F:;D76?7 "I3EB7DEA@3>>K3BBDAH764K/A>GE;A@REA3D6A8&3@397DEFAE7DH7
;@F:;EDA>7 -:7DA>73@67JB75F3F;A@E6;6@AF5:3@978DA?F:7BD7H;AGE FA?7 -:7<A4I3E 
3@65A@F;@G76FA47 A@7A838G>> F;?77?B>AK77 /A>GE;A@47>;7H76O7H7@3F?KF7D?;@3F;A@O
F:3F " I3E 3@ 7?B>AK77  /A>GE;A@ E7@F 3 F7D?;@3F;A@ >7FF7D FA ?7 B7DEA@3>>K F7D?;@3F;@9 ?K
7?B>AK?7@F -:7KE7B3D3F7>KE7@F3>7FF7DFA$,FD3F79;5F7D?;@3F;@9F:3F5A@FD35F 

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       K&3K  ?KFI;@4DAF:7D /A>GE;A@RE(3D6;37<43@ :365A?B>7F7>KFGD@76
3DAG@6/A>GE;A@REB7D8AD?3@57 KF:3FF;?7/A>GE;A@I3E8ADF:78;DEFF;?7;@K73DEDG@@;@93
BAE;F;H7"- 3@6I7:368A5GE76;F8AD?3J;?;L;@9D7H7@G78DA?;FE>7935KBDA6G5F 07
I7D7A@5AGDE7FA>3G@5:/A>GE;A@RE@7IBDA6G5F .@67D3D6;37<43@RE>7367DE:;B /A>GE;A@RE
53E:D7E7DH7E:36;@5D73E768DA?34AGF?;>>;A@FA@73D>K?;>>;A@ EA8F:;E63F7 /A>GE;A@
:3634AGF 7?B>AK77E (8F:7E77?B>AK77E A@>KFIA ?KE7>83@6(3D6;37<43@ I7D7
A8"D3@;3@67E57@F 07I7D74AF:I7D74AD@;@"D3@ "4753?7F:7 7@7D3>AG@E7>A8/A>GE;A@
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       (@#G@7   &3;@,FD77FRE( I3K@7!KL3= @AF;8;763D6;37<43@3>A@9I;F:
&D $7;@,BDA>7E &D +3@6A@$7>>K 3@6F:7ADBAD3F7,75D7F3DKA8/A>GE;A@F:3F;F:365:3@976
F:7A3D6A8&3@397DEPF:7A3D6Q8AD/A>GE;A@3@6F:3FF:7A3D6@AII3E?367GBA8-DAK
);=7 #7D7?K+AE7@F:3> 3@6GDF%;@67?3@ >>F:D77A8F:7E73D73G53E;3@?3>7E 4AD@;@F:7
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        "@#G@7  ">73D@76F:3FF:7F:D77@7I?7?47DEA8F:7A3D6A8&3@397DEI7D7F:D77
?7@  GDF %;@67?3@  #7D7?K +AE7@F:3> 3@6 -DAK );=7   .@F;> F:3F BA;@F  ?K B7D8AD?3@57 8AD
/A>GE;A@:36477@7J57>>7@F ":36D757;H76H7DKBAE;F;H78776435=34AGF?KB7D8AD?3@573@6"
:36@AB7D8AD?3@57;EEG7E "@835F 6G73F>73EF;@B3DFFA?KB7D8AD?3@57 ":36;@5D73E;@9>K477@
9;H7@9D73F7D?3@397?7@F6GF;7E3EAGF>;@7634AH7 ";@;F;3>>KD7BADF76FAF:7(3@6AG@67D
A8/A>GE;A@ $7H;@,BDA>7E3@6F:7((A8/A>GE;A@ ?KFI;@4DAF:7D 3D6;37<43@ 8F7D
3D6;37<43@4753?7F:7(A8/A>GE;A@ "D7BADF76FA:;?6;D75F>K 
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       8F7DF:7@7IA3D6A8&3@397DE3@6+(-;?,F3>>=3?B3DD;H763F/A>GE;A@ F:7E78AGD
3G53E;3@4AD@ ;@ F:7 .@;F76,F3F7E?3>7EFD73F763>>F:7/A>GE;A@7?B>AK77E4AD@;@"D3@436>K 
I:;>7 FD73F;@9 4AD@ ;@ F:7 .@;F76 ,F3F7E 7?B>AK77E A8 /A>GE;A@ I7>>  -:7 '7I %7367DE
;?B>7?7@F7636;E5D;?;@3FADK6AG4>7EF3@63D6 0:;>7);=7 +AE7@F:3> %;@67?3@3@6,F3>>=3?B
5A>>75F;H7>KF:7P'7I%7367DEQI7D767?3@6;@9 G@D73EA@34>7 5A@67E57@6;@9 34DGBF3@6DG67
FAI3D6?73@6F:7AF:7D"D3@;3@4AD@7?B>AK77A8/A>GE;A@ ?K4DAF:7D 3D6;37<43@ F:7'7I
%7367DEFD73F76F:7AF:7D/A>GE;A@>7367DE@A@ "D3@;3@4AD@BA>;F7>K3@6I;F:6787D7@57 -:7
D7?3;@;@9>7367DE:;B3F/A>GE;A@@A@ "D3@;3@4AD@I7D734>7FABGFA88D7CG7EFE8DA?F:7'7I
%7367DE8AD63KE3@6I77=E -:7K5AG>6>;F7D3>>KE3K P"IA@RF:3H7F;?7FAF3>=G@F;>@7JFI77=Q
3@6F:7D7EBA@E7 F;?73@6393;@I3EP@ABDA4>7? 0:7@@7JFI77= Q-:767?3@6EA@3D6;3
7<43@3@6?74KF:7'7I%7367DE I7D734DGBF G@D73EA@34>73@6BD7F7JFG3> -:7'7I%7367DE
?367367>;47D3F7788ADFFA?3@G835FGD7383>E7PD73EA@Q8ADF7D?;@3F;A@EAF:7K5AG>63EE7DF83>E7>K
F:3F3D6;33@6"I7D7P6;E7@939763@66;EA476;7@FA88;57DE Q>F:AG9:F:7'7I%7367DE6;6@AF
9;H7 ?7 3 D73EA@ 8AD F7D?;@3F;@9 ?7 I:7@ F:7K 8;D76 ?7 4K ?3;>  P47;@9 6;E7@93976 3@6
6;EA476;7@FQ;EF:783>E73@6BD7F7JFG3>D73EA@F:3F/A>GE;A@A887D76;@;FE;E5>AEGD7,F3F7?7@F;@
3@=DGBF5KAGDF;@F:7?3FF7D53>>76"@D7/A>GE;A@ %% :3BF7D 3E7'A   +# 
;@F:7.@;F76,F3F7E3@=DGBF5KAGDF8ADF:7,AGF:7D@;EFD;5FA8-7J3E %3D76A;H;E;A@ 

         DA?F:7F;?7F:7'7I%7367DE3DD;H763F/A>GE;A@G@F;>?KF7D?;@3F;A@4K>7FF7D
A@#G>K   "I3E7@93976 A476;7@F3@65AAB7D3F;H7I;F:F:7'7I%7367DE 67EB;F7
F:7835FF:3FA@7AD?AD7A8F:7?A8F7@FD73F76?7;@3@3D4;FD3DK 67?3@6;@9 
;@5A@E;EF7@F3@66;ED7EB75F8G>?3@@7D /A>GE;A@7@93976;@39*==.;78;9;*,=2,.A8
D7F3>;3F;A@3@6;@F7D87D7@57 @AFA@>KBG@;E:;@93@68;D;@93D6;37<43@8AD:;EBDAF75F76
788ADFEFA53D78AD?K@7B:7IE :;EKAG@9EA@E 4GF3>EAD7F3>;3F;@9393;@EF3@68;D;@9?7
6G7FA?KBD79@3@5KEAA@38F7D;F>73D@76F:3F"I3EBD79@3@F 

        ,:ADF>K38F7D>73D@;@9A8F:7A3D65:3@97 ";@8AD?76F:7@7I?7?47DEA8F:7A3D6A8
&3@397DEF:3F"I3EBD79@3@F3@6F:3F"I3E7JB7D;7@5;@95A?B>;53F;A@E8DA??KBD79@3@5K -:7K
D735F76@793F;H7>K D793D676?KBD79@3@5K3E36;E34;>;FK D78GE76FA355A??A63F7?KBD79@3@5K 
3@6F:7@F:7K8;D76?76G7FA?KBD79@3@5K3@66G7FAF:7835FF:3F"I3E4AD@;@"D3@ &K4DAF:7D
3@6"I7D7F:7A@>K"D3@;3@4AD@7?B>AK77EA8/A>GE;A@3@6F:7@7IA3D65>73@76:AGE7 8;D;@9
GE4AF:4K>7FF7D3FF:7E3?7?A?7@F A@#G>K   78875F;H73F3 ? /A>GE;A@GE763
BD7F7JF FA 5AH7D GB F:7;D 6;E5D;?;@3FADK 35F;A@E  83>E7>K 5>3;?;@9 F:3F ?K 4DAF:7D 3@6 " I7D7
P6;E7@939763@66;EA476;7@FA88;57DE Q/A>GE;A@D7B>3576?7I;F:3@A@ BD79@3@F?3>7 7@7D3>
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        -:763K38F7D3D6;37<43@RE8;DEF4A3D6?77F;@9I;F:F:7'7I%7367DE A@-G7E63K 
#G@7   3F)& #7D7?K+AE7@F:3>E7@F3D6;37<43@3@7?3;>I;F:HA>G?;@AGE
D7CG7EFEF:3FIAG>6@AD?3>>KF3=7I77=E 3@6BDAH;67636736>;@7A8@7JF63KD;63K 4K)&
,- %12<@*<*<.=>9;DEF F:;E4793@3B3FF7D@4KF:7'7I%7367DEA84G;>6;@93B3B7DFD3;>
F:3FF:7KI7D7E77=;@96A5G?7@FE3@6FDK;@9FAE:AIF:7KI7D7@AF97FF;@9EG88;5;7@F
5AAB7D3F;A@ 67EB;F7BDA?BF3@66;>;97@F788ADFE4K4AF:3D6;37<43@3@6?7 ,75A@6 F:7
I:A>787H7D;E:6A5G?7@FE73D5:I3EB3DFA83BD7F7JF )D;ADFA&3;@,FD77F;@E7DF;@9;FE
:3@6B;5=764A3D6);=7 +AE7@F:3>3@6%;@7?3@3@6;FE+( ,F3>>=3?B @AFA@>KI3E&3;@
,FD77FF:DAG9:&3;@,FD77FRE( @A>7EE34A3D6?7?47D 4GF/A>GE;A@RE>7367DE:36:7>6
?G>F;B>7F3>=EI;F:&3;@,FD77F3@6BDAH;676F:7?I;F:H;DFG3>>K3>>A8F:7;@8AD?3F;A@F:3FF:7
'7I%7367DEBD7EE76FAD757;H73E;83@7?7D97@5K 

        ADF:7'7I%7367DEFAEG667@>K5>3;?F:3FF:7KI7D7;@6;D7@776A8;@8AD?3F;A@3@6
6A5G?7@FE3@6F:3F;F:36@A@7;@;FEBAEE7EE;A@38F7D47;@9;@F7DH;7I763@6:3@6B;5=764K&3;@
,FD77F 3@6BD7EG?34>K38F7DF:7KF:7?E7>H7E5A@E;67D76F:7BAE;F;A@F:7KI7D747;@9A887D76;E
;@5D76;4>7 -:7KIAG>6:3H7FA5>3;?F:3F&3;@,FD77FBDAH;676F:7?I;F:@A@7A8F:7
;@8AD?3F;A@;@;FEBAEE7EE;A@3@6F:3FF:7K@7H7DEAG9:F3@K;@3557BF;@9BAE;F;A@E3EF:7FAB
?3@397DEA8/A>GE;A@ -:7;DBD7F7@E7F:3FF:7KFAA=F:7;DBAE;F;A@EI;F:AGF47;@9BDAH;676I;F:
ADE77=;@93@K;@8AD?3F;A@AD6A5G?7@FEI:;5:I7D7;@F:76;D75FBAEE7EE;A@A8F:7;D7?B>AK7D
&3;@,FD77F678;7E5D76G>;FK GDF:7D 7H7@3EEG?;@9F:3FF:7'7I%7367DEI7D7;@@776A8
3@KF:;@93@6F:3FF:7D7I3EEA?7:G97GD97@5KFAA4F3;@;F F:7K5AG>6A4F3;@F:7;@8AD?3F;A@
8DA?F:7;D4AEE &3;@,FD77FO3@6@AF675>3D73@7?7D97@5KF:3FIAG>6AH7DD;67F:7788ADFEA8
F:77J;EF;@9>7367DEA8/A>GE;A@FADG@F:75A?B3@K -:73D9G?7@FF:3FF:7E7'7I%7367DE
I3>=76A@FAF:7;D<A4EE;9:FG@E77@3EF:75:;78?3@397DEA835A?B3@K;@EG5:6;D7EFD3;FEF:3F;F
I3EA@F:7H7D97A843@=DGBF5K;E34EGD6 
        
        3D6;37<43@D7B>;76FA+AE7@F:3>F:7@7JF63K478AD7:;E)&6736>;@7 "@F:78;DEF
D7B>K4K3D6;37<43@ :7>7FF:7?=@AI:7I3EF3=;@9?KEA@FAF:76A5FAD8AD3@7?7D97@5K 
:7:363E7H7D773D;@875F;A@3@687H7D 3@6FA>6#7D7?KF:3F:7IAG>6D7B>K3EEAA@3E:7I3E
435= 3D6;37<43@RE&7?3;>A@#G@7   E3;6FA+AE7@F:3>
        
        #7D7?K

        %*42706B<87=8=1.-8,=8;1.1*<*<.?.;..*;27/.,=287"R>>D7B>KFAKAGD
        7?3;>;??76;3F7>K38F7D"D7FGD@ 

        ,;@57D7>K 

        3D6;3
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?B:3E;E36676 
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        3D6;37<43@RE@7JF7?3;>FA+AE7@F:3>I3E3>EA3:736A8:;EB?6736>;@7 (7<43@
E7@F:;E7?3;>3F& "FI3E3@73D@7EF3FF7?BFFA5AAB7D3F73@6FAIAD=83EF3@63>EAFA
D7?;@6F:7'7I%7367DEA8:;EEA@ER:73>F:;EEG7E3@6@776E (7<43@>7FF:7?=@AIF:3F:7
I3E@AF3>>AI;@97@AG9:F;?7FAFGD@3DAG@6D7CG7EFEG@67D@AD?3>5;D5G?EF3@57E 3@6F:3F:7I3E
9A;@9 F:DAG9: 7JFD3AD6;@3DK 5;D5G?EF3@57E  !;EFAD;53>>K  F:7 ;@8AD?3F;A@ +AE7@F:3> D7CG7EF76
IAG>6F3=73@ I77=BDA57EEFAFGD@3DAG@6 (7<43@D7;F7D3F76:;E83?;>KD7EBA@E;4;>;F;7E FA
:;E4AKE 39763@6 3D6;37<43@RE7?3;>FA+AE7@F:3>E3;6
        
        #7D7?K

        E( "@776FA43>3@57AB7D3F;@9F:75A?B3@K3EI7>>3E8G>8;>>;@9F:7E7
        D7CG7EFE "R?3H7DK:3@6EA@>7367D I:;5:;EB3DFA8F:7D73EA@"I3E7>7H3F76FA
        ( "F3=79D73F53D7FA47;@HA>H76;@3@6E:3B7735:B3DFA8F:7AD93@;L3F;A@FA
        3EEGD7F:3F;F;E:736;@98ADEG557EE 

        +793D6>7EE ;@<GEF:AGDE "RH7@AI?7FI;F:3>>B3DF;7ED7CG7EF;@9?77F;@9E
        3@6479G@BD7B3D;@9@7JFEF7BE 3E76A@AGD?77F;@9E "87>F>;=7I73D747;@9
        5A>>34AD3F;H73@65A??G@;53F;@9AB7@>K EA?7F:;@98AG@63F;A@3>FAAGD5G>FGD7
        5A67 

        0:;>7"3?9;H;@9KAG3@6-;??K:;9:7EFBD;AD;FK F:7D73D7AF:7D4GE;@7EE;F7?E
        F:3F"53@@AF?7D7>K;9@AD7 668?270*</*<=*<91B<2,*55B98<<2+5.=8
        ,86925.27/8;6*=287*7-989>5*=.-;2?.<"R>>4734>7FA5D73F73 AA9>7D;H7
        8ADF:7A3D63@6479;@BABG>3F;@9F:7D7CG7EF76;@8AD?3F;A@4KF:77@6A8
        4GE;@7EEFA63K "R?F3D97F;@9FA:3H73>>D7CG7EF76;@8AD?3F;A@4KF:77@6A8F:;E
        I77= BAEE;4>KD;63K&;@BD7B3D3F;A@8ADAGD?77F;@9A@&A@63K 

        "IAG>63BBD75;3F7F:7ABBADFG@;FKFA5ADD75FF:7D75AD6;@D793D6EFAA@I3K
        &35=7@L;7 "6;6@AFD7BADFF:3FF:7;@8AD?3F;A@I3ED736;>K3H3;>34>7 ">7F-;?
        =@AIAGD8AD?'I3ED736;>K3H3;>34>73@6F:3FI7IAG>6479;@AGD)"
        BDA576GD7 I:;5:EF3DFEI;F:3435=9DAG@65:75= -:;E;EEA?7F:;@9I7:3H7
        @7H7D4KB3EE763E3)"5A?B>;3@FAD93@;L3F;A@ >>5A@FD35FADEF:3F:3H73557EE
        FAF:7;@8AD?3F;A@:7;ED7CG7EF;@9?GEF9AF:DAG9:F:;EBDA57EE "EKAGD
        ;@EFDG5F;A@F:3FI74KB3EEF:;EE75GD;FKBDA57EE&K5A@57D@;EF:3F6A;@9EA?3K
        <7AB3D6;L7AGD5A?B>;3@57EF3FGEI:;>7A@>KE3H;@9387I63KE 3@6;6>K 
        :;EFAD;53>4A3D6?7?47DE3F/A>GE;A@:3H73>EA9A@7F:DAG9:F:;E435=9DAG@6
        5:75= 

          ;H7@F:3F:7:36@AFEB75;8;763>7@9F:A8F;?7 3@6:36E:ADF>K478AD7F:753>>
        E7@F?7:;E6A5G?7@FD7CG7EFE -;?E77?763?7@34>7FAF:7 ?;@GF7?77F;@9 
          7=1.2=.6<%26;.:>.<=.-3><=@*7=.-=802?.<86.+*,40;8>7-==884
        ><8?.;@..4<=8-.52?.;=1*=27/8;6*=287=8#*B687-*6.<5*<=B.*;
        ->;2708>;9;8,.<<>;270=1*==26.@*<=1.9.;<87;.<987<2+5./8;
        *00;.0*=270*<2072/2,*7=6*38;2=B8/=1*=27/8;6*=287*7-,*7-8<8
        .//2,2.7=5B(125.F55@8;4=8.A9.-2=.=12<9;8,.<<2=2<524.5B08270=8+.27
CaseCase
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                                                                                                  
       +*=,1.<8?.;=1.7.A= @..4<>EA -;?@7H7DD7CG7EF76FA:3H7G@87FF7D76
       3557EEFA3@KA@78DA?>7367DE:;B A@E;67D;@9F:734AH7?;E5A??G@;53F;A@ "
       I;>>7@673HAD347FF7D<A4A86A5G?7@F;@98GFGD75A??G@;53F;A@EEA3EFA3HA;6
       8GDF:7D?;E5A??G@;53F;A@ 

       E";@8AD?76KAG6GD;@9AGD?77F;@9 43E76A@F:7I3K/A>GE;A@:3EAB7D3F76
       :;EFAD;53>>K "8;D?>K47>;7H7F:3F;@FDA6G5;@93@6 AD5D73F;@96;D75FD7BADFE8AD
       -;? AD3@KA8F:;EEFDG5FGD74KF:7?3@397?7@FF73?3F/A>GE;A@3FF:;EF;?7I;>>
       47;@5D76;4>K6;EDGBF;H7 3@6I;>>>736FA353F3EFDAB:;567F7D;AD3F;A@;@=7K
       ?7FD;5E3@6:;@67DDA5=5A?B>7F;A@8ADF:7AD93@;L3F;A@ -:;E;EF:7D73EA@"3E=76
       FA473>>AI76FAF:;@=F:DAG9::AI47EFFA35:;7H7F:;E "RH7477@F:;@=;@9
       F:DAG9::AIFA6AF:;E 3@6I:7@ ;@3@3BBDABD;3F7I3K -:;EI;>>3>EAB7DEA@3>>K
       F;7?7GBI;F:CG7EF;A@E3@6G@57DF3;@F;7EA8F:78GFGD7A8F:7AD93@;L3F;A@ 
       BAF7@F;3>>K>736;@9FA7H7@8GDF:7D6;EDGBF;A@3@6?;EE76B7D8AD?3@57 -:;E
       E:AG>6473@3D73I76;9;@FAA@&A@63K 

       "@97@7D3> *6*38;2=B8/=1.6*7*0.6.7==.*62<?.;B/8,><.-*7-2<=*4270
       87<86.*--2=287*5;85.<*559*;=8/=1.95*7=8;.+>25-=1.8;0*72C*=287/;86
       @2=127279;.9*;*=287/8;8>;08=86*;4.=@2=1' %%1.;.2<*7
       27,;.-2+5.7.@.7.;0B@2=127=1.8;0*72C*=287+>==12<2<*5<8*727,;.-2+5B
       =26.,87<>62709;8,.<</8;6.*< =8;*69>9,*<=?2<287*7-9;8?2-.
       ,5.*;-2;.,=287/8;.*,16*7*0.6.7==.*66.6+.;*<@.55*<.<=*+52<1270
       9;8,.<<.< $*<8>;0>2-2705201==8<>,,.<</8;=1.8;0*72C*=287EKAG
       EF3F76 I7I3@FFA3>>?3=7/A>GE;A@EG557EE8G> "3E=3>;FF>7A8KAGD;@6G>97@57
       5A@E;67D;@9?KK73DEA847;@9;??7DE76;@F:;E5A?B3@K ;FE4GE;@7EE 3@6
       4G;>6;@9;FE5G>FGD7F6=*4270B8>;;.:>.<=<<.;28><5B*7-6*4270=1.66B
       =899;28;2=B@125.*5<8+*5*7,270*+8?.*5<81*?.=8*<<>;.=1*==12<
       9;8,.<<-8.<78=27=.;/.;.@2=16B;.<987<2+252=2.<=86B=@8+8B<*0.- 
       *7-

       ,;@57D7>K 

       3D6;3

?B:3E;E36676 

        (@#G@7   -DAK);=7F7JF763D6;37<43@3F)& E3K;@9 P)>73E753>>?7
F:;E7H7@;@9;8BAEE;4>7 "8@AFBAEE;4>7 B>73E7>7F?7=@AI Q(7<43@I3EEF;>>53D;@98AD
:;EEA@I;F:3E7H7D773D;@875F;A@ 0;F:(/" 3D6;3RE K73DA>6RE63K53D7I3E5>AE76 EA
F:;E4753?73:G975:3>>7@978AD:;E83?;>K FDK;@9FABDAH;676;887D7@F>7H7>EA853D78AD3E;5=
K73D A>63@667?3@6;@9 K73D A>6 5A?4;@76I;F:(/"3@6F:7;DG@67D>K;@9:73>F:
5A@6;F;A@EE7H7D73EF:?3 8AA63>>7D9;7E 3D6;37<43@D7B>;76F:3F7H7@;@9P0;F:F:7=;6E "
53@53>>KAG3F&FA?ADDAI Q
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CaseCase
     20-50082
         20-50082
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        );=7D7B>;76I;F:BD7EEGD73@63H7;>76F:D73FP&K@AD?3>D7EBA@E7IAG>647K7E A8
5AGDE7 GF;F;E5>73DFA?7@AIF:3FKAG3D7@RF9D3EB;@9:AI5D;F;53>F;?7;E8ADKAGD;9:F@AI Q
(7<43@53>>76);=73F&F:7@7JF?AD@;@9 !76;6@AF3557BF3D6;3RE53>> 
        
        -:7@);=7E7@F(7<43@3@AF:7DF7JF ?3=;@9;FEAG@6>;=7:783;>76FA53>>:;? 
);=7REF7JFE3;6PI3;F;@9KAGD53>> Q
        
        (7<43@53>>76:;?393;@ !73@EI7D763@6I3E34GE;H7 );=7FA>63D6;3A@F:7
B:A@753>>P;F:7DKAG6A@RFG@67DEF3@6F:79D3H;FKA8F:7E;FG3F;A@ADKAG6A@RF53D7 Q!73>EA
FA>63D6;3 P-:7D7RE3@7IE:7D;88;@FAI@ Q
        
        -:;E=;@6A8F3>=I3EB3DFA8);=7REB3FF7D@3@6;FI3EBDA?BF764K:;E@3F;A@3>AD;9;@
6;E5D;?;@3F;A@3@6:;E@793F;H7D735F;A@FA3D6;3RE788ADFEFA53D78ADF:7:73>F:A8:;E83?;>K 
);=7IAG>6BD7F7@6FA478D;7@6>KF:7@:7IAG>6F7>>3D6;3F:3F:7@77676FA6AEA?7F:;@9D;9:F
3I3KAD7>E7 "@F:3F73D>KB:A@753>>F:7?AD@;@9A8#G@7   );=73E=763D6;3FA
;@FDA6G57-;?,F3>>=3?B3@603K@7,5AFF 3D36;36;6I:3F:73E=76 3@63D6;3RED7EBA@E7FA
);=73F&5A@8;D?EF:3F3@6@AF7E:;EF:D73FFA3D6;3

       -DAK
       "5A??;FF76FA;@FDA6G5;@9-;?3@603K@7 3@6"6;6 1AGD7<75F76?K53>>
       FA63K 
       "6A@RFG@67DEF3@6I:KKAG:3H7FAF:D73F7@?7

       ,;@57D7>K 3D6;3

        (@#G@7   F:7'7I%7367DEB3EE763P.@3@;?AGE0D;FF7@A@E7@FA8F:7A3D6
A8&3@397DEA8/A>GE;A@ %% Q36A5G?7@FF:3FI3E6;D75F>KD7F3>;3FADKFAF:7788ADFEA83D6;3
7<43@FA53D78AD:;EEA@ER:73>F:;EEG7E6GD;@9F:7B3@67?;5O;FE7H7D7>K>;?;F76:;E34;>;F;7EFA
B7D8AD?:;E<A43E( );=7RE7?3;>7EE7@F;3>>K36?;FF76F:;ED7F3>;3F;A@ );=7EQ#G@7   
 )&7?3;>EF3F76PKAGD;@EG88;5;7@F>7H7>A8D7EBA@E;H7@7EE3@67J75GF;A@A@4A3D6
6;D75F;H7E53GE7EF:74A3D69D73F5A@57D@ Q
        
                               %1..@.*-.;<F*69*2070*27<=.

       (@#G@7   F:7'7I%7367DE4793@353?B3;9@393;@EF?7 (@7A8F:7
'7I%7367DE GDF%;@67?3@ IDAF7FA?7 ?;EEF3F;@9?KDA>753>>;@9?7PAGFE;67
97@7D3>5AG@E7>QI:7@"I3E8G>>F;?73@6@AF3@PAGFE;67Q 7@7D3>AG@E7>A8
/A>GE;A@ %;@67?3@RE7?3;>A8&E3;6

       "3?A@7A8F:7?7?47DEA8F:7A3D6A8&3@397DEA8/A>GE;A@F:7AF:7D3D7
       5AB;76A@F:;E7?3;> -:7A3D63E=763H;6,@K67D3>EA5AB;76 I;F:#35=EA@
       03>=7D5A?B3@K5AG@E7> FA5A@F35FKAG >7-.;<=*7-=1*=B8>*;.89.;*=270
       *<=1./>55=26.8>=<2-.0.7.;*5,8>7<.58/'85><28707D73>>K@776KAGFA3F
       >73EFFAG5:43E7I;F:3H;6F:;E?AD@;@9BD787D34>KI;F:;@F:7:AGDEAI753@
       EF3DFFAG@67DEF3@6F:7>793>;EEG7E5GDD7@F>K835;@9F:75A?B3@K 
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       
       "8F:7D73D7E;9@;8;53@F>793>;EEG7EF:3FIAG>6BD7H7@FEG5:353>>F:;E?AD@;@9 I7
       A4H;AGE>K@776FA=@AI3E3B 
       
       ">AA=8ADI3D6FAIAD=;@9I;F:KAG 

?B:3E;E36676 

      "D7EBA@676FA%;@67?3@A@#G@7   3F@AA@ D787DD;@9FA3H;6,@K67D3E
P3H;6Q3E8A>>AIE

       "7?3;>763H;68AD3H3;>34>7F;?7E &7/8;=>7*=.5B1*?.9.;<87*56.-2,*5
       2<<>.<=8=.7-=8*<*69;.07*7= 3H;6;EI7>5A?7FA5A@F35F?76;D75F>K "
       I;>>7@673HADFA5A@@75FI;F::;?3FF:78;DEFBAEE;4>7F;?7 

       -:3@=KAG8ADKAGD5A@E;67D3F;A@ "FAA>AA=8ADI3D6FAIAD=;@9I;F:KAG 

?B:3E;E36676 

        -:7 '7I %7367DE H;7I76 F:7 @7IE F:3F " I3E BD79@3@F @793F;H7>K 3@6 I;F:
:AEF;>;FK 'A@7A8F:7'7I%7367DE7H7D5A@9D3FG>3F76?7A@?KBD79@3@5K 3E=76?7
34AGF355A??A63F;A@E"IAG>6@776AD?;9:F@776 AD7H7@3E=76?7:AI83D3>A@9"I3E
;@ ?K BD79@3@5K   -:;E IAG>6 :3H7 477@ F:7 8;DEF EF7B ;@ 3 6;E5GEE;A@ 34AGF
355A??A63F;A@E "@835F @A@7A8F:7'7I%7367DE7H7D?7@F;A@76?KBD79@3@5K7J57BF
;@36;E?;EE;H7I3KF:3FEG997EF76F:3F47;@9BD79@3@FI3E;@5A@H7@;7@F3@6F:7E3?73E
@AF47;@9BD79@3@F4GF835;@9(/";EEG7EI;F:F:7D7EFA8F:7BABG>3F;A@ %;@67?3@
E3;6 :7 5AG>6 PG@67DEF3@6 3@6 EK?B3F:;L7 I;F: 83?;>K A4>;93F;A@EQ 3@6 6;E?;EE76 ?K
BD79@3@5K3@63D6;3REEA@RE:73>F:;EEG7E4KE3K;@9 P073D73>>FDK;@9FA<G99>783?;>K
A4>;93F;A@E6GD;@9F:;EEFD3@97F;?7 Q%3F7D:7?3673E;?;>3DEF3F7?7@FFA(3D6;3
7<43@;@3?77F;@9I:7@3D6;3F3>=7634AGFF:7?76;53>;EEG7E835;@9:;EEA@EF:3F:7
I3EFDK;@9FA:3@6>7 %;@67?3@E3;6FA3D6;3 P07RD73>>;@F:7E3?74A3F Q

       (@#G>K   3F)& %;@67?3@IDAF735A@67E57@6;@9 5D;F;53> 3@6
6;E?;EE;H77?3;>FA3D6;33@6?7 %;@67?3@RE7?3;>EF3F76

       "53@G@67DEF3@63@6EK?B3F:;L7I;F:83?;>KA4>;93F;A@E (.*;.*55=;B270=8
       3>005./*625B8+520*=287<@2=1@8;4->;270=12<<=;*70.=26.!AI7H7D F:7E7
       67>3KE4K4AF:KAG3@63:3D8ADI77=E3D7@AF3557BF34>7 "8F:7E7D7CG7EFEI7D7
       ?367A8?73E3  "5AG>6E7@6AGFF:76A5G?7@FEI;F:;@?;@GF7E8DA?
       3@KI:7D7F:7D7;E357>>E;9@3> 

       "8KAG53@F6A;F B>73E76;D75FB7AB>7A@KAGDF73?FAE7@6?7F:76A5G?7@FE
       FA63K 
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CaseCase
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                                                                                             
       ":36@AF67>3K763@KF:;@98ADI77=E "BDA?BF>KD7EBA@676 A4<75F;@9FA%;@67?3@RE
7?3;>3@6BA;@F;@9AGF?KBD79@3@5K3@6F:7835FF:3F":36477@7JB7D;7@5;@95A?B>;53F;A@E
3@66;88;5G>F;7EI;F::7DBD79@3@5KAH7DF:7B3EFI77=E &K7?3;>A8#G>K   3F)&
FA>6%;@67?3@

       GDF 

       -878=*99;.,2*=.B8>;62<;.9;.<.7=*=287<-:;E;EF:78;DEFD7CG7EF":3H7
       D757;H768AD5A@FD35FEI;F:?3<ADH7@6ADEAD7@9397?7@F>7FF7DEI;F:>3I8;D?E "
       I3E3E=768AD3>;EFA8>3I8;D?EF:3F3D7AD:3H7D757@F>K477@7@93976 @6"
       BDAH;676F:3FFAKAG>3EFI77= 

       *5<827/8;6.-B8>278>;,87/.;.7,.,*55=1*=-878=1*?.*,,.<<=8
       .6958B6.7=*0;..6.7=<*7-7.?.;=1.5.<<B8>;.:>.<=.-=18<./;866.

       27*55B1*?.+..7@8;4270/>55=26./8;'85><287*7-*<1*?.=85-B8>
       *69;.07*7=*7-1*?..A9.;2.7,.-<86.,86952,*=287<*7--2//2,>5=2.<@2=1
       6B9;.07*7,B8?.;=1.9*<=@..4<+793D6>7EE ":3H75A@F;@G76FAD7EBA@6FA
       3>>A8-;?ED7CG7EFE ;@5>G6;@9BDAH;6;@9:;?I;F:5A?B>7F73557EEFA36D;H7A8
       ;@F7>>75FG3>BDAB7DFK?3F7D;3>3>A@9I;F:5ADD7EBA@6;@97@9397?7@F>7FF7DE>3EF
       @;9:F 

       "53@97FKAGF:7D7F3;@7D39D77?7@FE8AD>3IK7DE":3H77@93976 AF:7DF:3@F:7
       B3F7@F>3IK7DI:;5:KAG@AI3>D736K:3H73EA8>3EF@;9:F "I;>>:3H7FAE73D5:
       8AD39D77?7@FEI;F:>3IK7DEF:3FI7D77@93976BD;ADFA?K7?B>AK?7@F4GFF:3F
       3D7EF;>>6A;@9IAD=8AD/A>GE;A@ 

       "F3=7?K<A43E 7@7D3>AG@E7>A8/A>GE;A@/+1E7D;AGE>K3@6IAG>6
       3BBD75;3F7;F;8KAGIAG>6@F?;EEF3F7F:;@9E3@65A@8>3F7KAGDBD7H;AGEDA>73E 
       I;F:F:7IAD="3?6A;@9 07:3H76;887D7@F<A4E3@6A4H;AGE>K6;887D7@FEFK>7E "
       :3H73@6I;>>5A@F;@G7FAF;?7>KD7EBA@6FA3>>D7CG7EFEI:;>7?3@39;@9?KAF:7D
       6GF;7E 

?B:3E;E36676 "5AB;763>>F:7'7I%7367DEA@F:;E7?3;> 

       'A@7A8F:7'7I%7367DED7EBA@676I;F:3@K788ADFFA355A??A63F7?K
BD79@3@5K3@6;FE5A?B>;53F;A@E /A>GE;A@RED7EBA@E7 ?G5:>;=7OP(: KAGRD7BD79@3@F
OF:3@=E8ADF:3F;@8AD?3F;A@OKAGRD78;D76OI7I;>>D7B>357KAGI;F:3@A@ BD79@3@F
?3@Q H7DKE:ADF>KF:7D738F7D I3EFA8;D7?7I;F:AGFBDAH;6;@9?73@KD73EA@3@6
I;F:AGFBD;ADI3D@;@9A@#G>K   

       *;-2*F<(;2==.78=2,.=8=1..@.*-.;<8/#..-<

       (@#G>K   (7<43@BGFF:7'7I%7367DEA@ID;FF7@@AF;57F:3F:7I3EF3=;@9
F;?7FA53D78AD:;EEA@E3@6F:3FF:7KEG887D768DA?P?76;53>5A@6;F;A@EF:3F3D76;D75F>K
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;?B35F764K(/" 3@6,F397QD787DD;@9FAF:7E:GF6AI@F:3F53GE76E7D;AGE;EEG7EI;F:
A4F3;@;@97EE7@F;3>8AA68AD3D6;3REEA@EF:3FIAG>6@AFFD;997DE7H7D73>>7D9;5D735F;A@E F
 )&A@#G>K   3D6;3E7@FF:;E7?3;>FA3>>A8F:7'7I%7367DE

         GDF -DAK #7D7?K3@6-;?
         
         +7B>K;@9FA3@7?3;>-;?:36E7@FI:;>7"I3EA@)-( 
         
         ><=0.==270+*,4/;866B<87F<-8,=8;<*99827=6.7=*;52.;=8-*B><=27
         ,87/2;6.-$=*0. *99;8*,1270@2=127=1.7.A=,8>95.-*B<2/78==87201="
         3?EB7@6;@9F:7D7?3;@67DA8F:7I77=IAD=;@9A@*BD;AD;F;7EI;F:F:7
         7J75GF;H7F73? 3@6=*4270,*;.8/6B/*625B279;.9*;*=287/8;$=*0. <
         6.7=287.-+./8;.6B,125-;.71*?.6.-2,*5,87-2=287<=1*=*;.-2;.,=5B
         269*,=.-+B ' *7-$=*0. 
         
         %7FEE5:76G>73?77F;@94KH;67A8AD&A@63K #G>KF:"53@8D77GB3@K4>A5=
         A8F;?7F:3FIAD=E8ADKAG "8I7:3H7F;?7 "IAG>63>EA>;=7FA5AH7DAGD/(%-
         9A FA ?3D=7FB>3@E ;@5>G6;@9*D7H7@G7EF34;>;FK I:;5:"R?3>EA8;@3>;L;@9 
         
         ,;@57D7>K 
         
         3D6;3

?B:3E;E36676 

         'A@7 A8 F:7 '7I %7367DE D7EBA@676 I;F: 3@K 788ADF FA 355A??A63F7 3D6;3RE
&% +@776E;@EF736 F:7KD7EBA@676I;F::AEF;>;FK #7D7?K+AE7@F:3>RE7?3;>
FA3D6;33F)&A@#G>K   67>;47D3F7>K?;EE76F:7BA;@FOF:3F3D6;3REEA@E
I7D7 7EB75;3>>K ;?B35F76 4K (/"    +AE7@F:3> 9>;4>K E3;6  P)>73E7 EF3K E387   07
G@67DEF3@6F:3FI;F:AH;6F:;E;E3H7DK5:3>>7@9;@9F;?7 Q 7@7D3>>K F:77?3;>E8DA?
F:7'7I%7367DEFD73F763D6;3RE788ADFEFAF3=753D7A8:;E83?;>K3E3@;@5A@H7@;7@57
3@6 AD3E3>35=A85AAB7D3F;A@ /A>GE;A@REG>F;?3F7D7EBA@E7 H7DKE:ADF>KF:7D738F7D I3E
FA8;D7(7<43@ 3E;F8;D76?7 I;F:AGFBDAH;6;@93@KD73EA@3@6I;F:AGFBD;ADI3D@;@9
A@#G>K   
         
         (@#G>K   H;33D6;3RE&7?3;> 3D6;3BGFF:7'7I%7367DEA@8GDF:7D
ID;FF7@@AF;57A8:;E&% +@776E 3D6;3E7@FF:7?F:;E7?3;>>7FF7D

         GDF #7D7?K -DAK -;?

         03@F76FA97FF:;EFAKAG8;DEFF:;@9F:;E& "?7@F;A@76D;63KF:3F"IAG>647
         IAD=;@9AH7DF:7I77=7@6A@H3D;AGE;@;F;3F;H7E EKAG=@AI /A>GE;A@
         ?73EGD7EEG557EE43E76A@AGD "8KAG>AA=3FAGD8;@3@5;3>E3@64A3D6
         ?3F7D;3>E I7:3H7477@F3D97F;@93@67J5776;@9"-?3D9;@9A3>EE;@57*
          I;F:'7F"@5A?7BAEF76;@&3K8AD8;DEFF;?7;@AH7D3K73D 66;F;A@3>>K 
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     I7:3H74DAG9:FD7H7@G79D77@E:AAFEA@>;@78ADB3DF@7D3@675AEKEF7?>;@7E 3>>
     B3DFA8F:7B>3@I7:36>3;6AGF>3F7>3EFK73D 0:;>7;FRE477@9D73FFAE77AGDB>3@
     IAD=;@9 I7EF;>>:3H7;??76;3F7D7H7@G7EF34;>;L3F;A@;@;F;3F;H7EF3D97F;@9
     M =366;F;A@3>D7H7@G7F:DAG9:* GFAGD>3D97EFD7H7@G76D;H7DI;>>47
     /(%- -& 

     -:7D73D73>EA=7K7>7?7@FEA8F:7D7H7@G7EF34;>;FKB>3@3@6AGD/(%- -&F:3F
     @776FA4767F3;>76 -:7?3@397?7@FF73?877>EF:3FI73D7A@F:7D;9:FB3F:3@6
     D7EG>FE3D73>D736KH3>;63F;@9F:3F47>;78 (GD(:36?7@F;A@76FA-;?F:3F:7
     IAG>6:3H7?A67>E4K#G>KF: I:;5:"H73FF7?BF76FA:7>B3557>7D3F7 073D7
     3>EA8;@3>;L;@9#G@7@G?47DEF:;EI77= (@57"D757;H73>>A8F:AE7B;757EA8
     ;@8AD?3F;A@ ">>@776FA;@5ADBAD3F7F:7?;@FAF:74A3D6BD7E7@F3F;A@3EI7>>3E
     ;?B>7?7@F;@FAF:7AH7D3>>AD93@;L3F;A@3>B>3@E 

     ==1.<*6.=26.7..-=8+;270=8B8>;*==.7=287=1*=6B=26.=12<@..4@255
     +.-2?.;=.-=8<9.*4270@2=1<.?.;*56.6+.;<8/=1.5.*-.;<129=.*627*7
     .//8;==8*6.528;*=.<86.8/=1.-*6*0.*7-;.->,.=1.*7A2.=B=1*=1*<
     8,,>;;.-+B=1.;.,.7=.?.7=< /9*;=2,>5*;,87,.;72<=1..//.,==1*=%26F<
     ,866>72,*=287<1*?.1*-87=1.6*7*0.6.7==.*6.1*<78=875B273.,=.-
     -.;80*=8;B27/8;6*=287@12,12</;*745B>77.,.<<*;B+>=*5<81*<<1*;.-*
     +8*;-;.<85>=287-8,>6.7=%89>=2=<2695B=1.B*;.78@>7,.;=*278/=1.
     />=>;.8/'85><287*7-=1.2;8@7,8662=6.7==8@1*=1*<+..7*5.<<=1*7
     ,5.*;*7-62A.-6.<<*0.%12<1*<<2072/2,*7=5B269*,=.-=1.@8;4
     .7?2;876.7=27,5>-270-2;.,=5B269*,=270" ;8,4<-:7F73?3EKAG?GEF
     =@AI 3D75D;F;53>?7?47DEA8F:7AD93@;L3F;A@I:AI7D75A@F35F76393;@EF?K
     36H;573@65AG@E7> 

     ;@3>>K ;F:3E477@4DAG9:FFA?K3FF7@F;A@F:3F>793>D7BD7E7@F3F;H7EA8H3D;AGE
     7@F;F;7EI;>>47:3H;@936;E5GEE;A@FA?ADDAI3F,- "877>53G9:F;@F:7?;66>7
     A8F:;E 4GF?AD7;?BADF3@F>K @776FA:3H7EA?7G@67DEF3@6;@9A8I:3F;E9A;@9
     A@EA"53@78875F;H7>KB7D8AD??K6GF;7E3@65A@F;@G7F:7FGD@3DAG@6 -DGF:8G>>K 
     "3?3>EAE7B3D3F7>KFDAG4>764KF:7835FF:3FF:74A3D6 FIA?7?47DEA8I:;5:3D7
     3FFAD@7KE 3>A@9I;F:F:7;D5AG@E7>I;E:FA:3H73?77F;@9I;F:?73@6;@E;EF;@9
     F:3F"3BB73DI;F:AGF5AG@E7> "3?7JFD7?7>KG@5A?8ADF34>7I;F:F:7>793>
     ?3@7GH7D;@93@6835F;A@E 3@6?GEF36?;FF:3F"3?5A?B>7F7>KAGFA8?K
     7>7?7@F "F;E5DG5;3>F:3F"8A5GEA@?K<A4FA=77B?AH;@9/A>GE;A@FA;@5D73E76
     BDA8;F34;>;FK3@69DAIF: 3@6>73H7F:7>793>?3FF7DEFAF:77JB7DFE 3F>73EFG@F;>"
     :3H747FF7D5>3D;FK 

     !.;<87*55B*<1*?.6.7=287.- ' ,87=27>.<=8,*><..A=;.6.
     >7,.;=*27=B*7-*7A2.=B/8;6B/*625B.<9.,2*55B02?.76BB8>70<87<F
     1.*5=12<<>.<>EA3E"IDAF7D;63K GEF;@I;>>47?AH76435=FA3,F397 
      ;H7@3>>A8F:7E75A@E;67D3F;A@E5A?4;@76I;F:(/" D7>3F7683?;>K;EEG7E "
     3?3E=;@9F:3FKAG?AH7AGD?77F;@9FAF:77@6 A8 F:7?A@F: "@F:7?73@F;?7"
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        I;>>EB73=I;F:-;?3EE5:76G>76F:;E?AD@;@9I:A"R?EGD7I;>>D7BADF435=A@
        AGD5A@H7DE3F;A@ 

        ,;@57D7>K 

        3D6;3

?B:3E;E36676 

       'A@7 A8 F:7 '7I %7367DE D7EBA@676 I;F: 3@K 788ADF FA 355A??A63F7 3D6;3RE &% 
+@776E ?3;>E8DA?F:7'7I%7367DEFD73F763D6;3RE788ADFEFAF3=753D7A8:;E83?;>K3E
3@ ;@5A@H7@;7@57 3@6 3E 3 >35= A8 5AAB7D3F;A@  /A>GE;A@RE G>F;?3F7 D7EBA@E7  H7DK E:ADF>K
F:7D738F7D I3EFA8;D73D6;33@6?7I;F:AGFBDAH;6;@93@KD73EA@3@6I;F:AGFBD;ADI3D@;@9A@
#G>K   
                                                     
                           %1..@.*-.;<%.;627*=.*;-2**7-.
                         7-%;B%88?.;&9*;-2*F<*=287*5 ;2027

       (@#G>K   3D6;37<43@3FF7@6763@AF:7DA3D6?77F;@9 'AF:;@9I3EE3;63F
F:3F?77F;@9FA3>7DF:;?FAF:7835FF:3FF:7'7I%7367DEI7D734AGFFA8;D7:;? $7H;@,BDA>7E
3@6 ?7 3@6 FA BGF /A>GE;A@ ;@ 43@=DGBF5K  67EB;F7 F:7 835F F:3F /A>GE;A@ I3E 6A;@9 I7>> 3E 3
4GE;@7EE3@66;6@AF@776FAF3=743@=DGBF5KFA3HA;68AD75>AEGD7 

       (@#G>K   3F)& ,F3>>=3?B7?3;>76?734AGFB3F7@F3FFAD@7KE F)& 
3D6;37?3;>76F:7'7I%7367DE34AGFF:7A3D6&77F;@9397@638ADF:74A3D6?77F;@9F:3FIAG>6
F3=7B>357>3F7D;@F:763K 3D6;3RE7?3;>FAF:7?E3;6

        -DAK #7D7?K GDF

        -:7397@638ADFA63KRE53>>I;>>47FA8A5GEA@*  BD7>;?;@3DK;?B35F 
        "8I7:3H7F;?7 "R63>EA>;=7FA6;E5GEE/(%- 

        "R?3>EA3FF35:;@9 D7EBA@6;@9FAF:7F:78A>>AI;@9D7CG7EFE

        /A>GE;A@873FGD7?3FD;J3FF35:76

        &3D=7FB7@7FD3F;A@;@BB3D7>53F79ADK

        2        A8AGD5GEFA?7DE3D7;@F:;EE79?7@FFA63K

                 ?  ? &/3BB3D7>?7D5:3@FE;@. , ;EM 

                 07:3H7    FA63K?3D=7FB7@7FD3F;A@

        ,;@57D7>K 3D6;3
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       -DAK );=7 7?3;>76 435= FA 3D6;3 ;@ D7EBA@E7 8;H7 ?;@GF7E >3F7D I;F:AGF 3@K :;@F F:3F
3@KF:;@9I3E38AAF );=7RE)&7?3;>E3;6

        -:3@=KAG 3D6;3 07E:AG>63>EAD7E7DH78;H7?;@GF7EFA6;E5GEEF:7
        8AD473D3@5739D77?7@F3@6;FEA4<75F;H7E 
        7EF 
        -DAK

        );=7RED787D7@57FAF:78AD473D3@5739D77?7@FD7>3F76FAF:739D77?7@F&3;@,FD77F 
/A>GE;A@RE>7@67D :36?367F:3F;FIAG>6@AFE77=FA8AD75>AE7A@F:7>A3@6G7FA6783G>F
A@B3K?7@FA4>;93F;A@E4K/A>GE;A@ 7EB;F7F:;E39D77?7@F -;?,F3>>=3?B+(FA>6
3D6;3E:ADF>K478AD7F:7A3D6?77F;@9F:3F:7@77676EA?7A@7FAI;D7AH7D                      FA
&3;@ ,FD77F 3E 3 B7357 A887D;@9  !7 3>EA E3;6 F:7 A3D6 93H7 :;? 3GF:AD;FK FA E;9@ F:7
39D77?7@F4GF@AFFAI;D7F:78G@6E 3D6;33E=76I:KI7:36FAB3K3@KF:;@9FA&3;@
,FD77FE;@57/A>GE;A@:3638AD473D3@57435=;@BD;> ,F3>>=3?BE3;6;FI3E6;887D7@F@AI
F:3F F:7 @7I A3D6 I3E :7D7  3D6;3 FA>6 :;? :7 IAG>6 @776 FA 8A>>AI GB I;F: $7H;@
,BDA>7E F:78AG@67DE;@573D6;36;6@AF:3H743@=355AG@F3557EE -;?FA>63D6;3F:3F
&3;@,FD77FIAG>6F3=735F;A@393;@EF/A>GE;A@;8;F6;6@AF6AEA4K7@6A8I77= -:3F
?367 @A E7@E7 ;@ >;9:F A8 F:7 8AD473D3@57 39D77?7@F  3@6 ,F3>>=3?BRE EG997EF;A@ F:3F
3D6;3I;D7F:;E?A@7KI3E3FD3@EB3D7@F788ADFFAE7FGB3D6;3I;F:3BD7F7JFFA<GEF;8K
F7D?;@3F;A@ 

        0:3F,F3>>=3?BI3EE3K;@9FA3D6;3478AD7F:7#G>KA3D6?77F;@9I3E3FD3@EB3D7@F
3FF7?BFFAE7FGB3D6;33E3BD7F7JF8AD8;D;@9:;?FA5AH7DGBG@>3I8G>D73EA@E -:;EI3EA4H;AGE
8AD E7H7D3> D73EA@E   ;DEF  3D6;3 :36 @A D;9:FE AH7D 43@= 355AG@FE   ,75A@6  F:7 A3D6RE
D7EA>GF;A@E ?367 ,F3>>=3?B F:7 4AEE A8 8;@3@57 3@6 F:7 6;D75F 4AEE A8 /A>GE;A@RE ;D75FAD A8
;@3@57 -:;D6 3E,F3>>=3?B=@7I G@67DF:7A3D6RED7EA>GF;A@E 3D6;3I3E@AF3GF:AD;L76FA
EB7@6?AD7F:3@          AGDF: ;8&3;@,FD77FI3E9A;@9FA8AD75>AE7A@;FE>A3@ ;FIAG>6@AF
:3H79A@7F:DAG9:F:7F;?73@67JB7@E7A8BGFF;@9F:7'7I%7367DE;@B>357 "8F:3FI3EF:7B>3@ 
&3;@ ,FD77F IAG>6 :3H7 <GEF 8AD75>AE76  "F IAG>6 <GEF E7@6 /A>GE;A@ 3 >7FF7D E3K;@9 E7@6 GE 3
EB75;8;53?AG@FA8?A@7K ADI7RD79A;@9FA8AD75>AE7 "F:36@AF6A@7EA ;8F: 3E3@A88;57DA8
/A>GE;A@ 3D6;3:36:363@A4>;93F;A@FABDAF75FF:75A?B3@K3@6F:7?3<AD;FKE:3D7:A>67D 3@6
/A>GE;A@:3638AD473D3@57I;F:&3;@,FD77F 

        -:7 A3D6 ?77F;@9 A@ -:GDE63K  #G>K      >3EF76 >7EE F:3@  ?;@GF7E 
,F3>>=3?B3@6:;E3EE;EF3@F<A;@76F:;EA3D653>>3EI7>> 3D6;3:36>7FF:7?=@AIF:3F
:7IAG>6F3=;@9)-()3;6-;?7(88A@D;63K FA:7>BI;F::;E4AKER?76;53>;EEG7E 
-:7KE3;6@AF:;@9BAE;F;H73@6E77?76G@:3BBK34AGFF:;E67H7>AB?7@F >;=7F:7KI7D7
F;D76A8673>;@9I;F:F:;E;@5A@H7@;7@57 

        F F:7 A3D6 ?77F;@9 A8 #G>K   @A@7 A8 F:7 '7I %7367DE ?7@F;A@76 3@KF:;@9
34AGF/A>GE;A@8;>;@98AD43@=DGBF5K -:7K6;6@AF?7@F;A@F:3FF:7KI7D75A@E;67D;@9
8;D;@9?7 -:7K6;6@AF?7@F;A@F:7KI7D75A@E;67D;@98;D;@9F:7AG@67D $7H;@,BDA>7E 
-:7K6;6@AF?7@F;A@F:3FF:7KI7D75A@E;67D;@98;D;@9(3D6;37<43@ADF:3FF:;E
IAG>647:;E>3EFIAD=63K3E3@7?B>AK77A8/A>GE;A@ 
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        FF:7#G>KA3D6?77F;@9 3D6;3I7@FF:DAG9:F:767F3;>E:7:36BDABAE76;@
F:7397@63:7:36E7@FF:7?478AD7F:7?77F;@9 -:7A3D6EF3DF764K3E=;@9;8F:7KE:AG>6
6;E5GEEF:7B3K?7@FFA&3;@,FD77F8;DEF 3@63D6;3D75A??7@676?AH;@93>A@9I;F:F:7
397@63:7:36BDABAE76 -:7A3D6E77?766;E;@F7D7EF76;@3@KFAB;5E3D6;36;E5GEE76 
F:7@F:7A3D6EI;F5:76FAB;5E3@63E=763D6;3FAI;D7F:7?A@7KFA&3;@EFD77F3B;F3> 
3D6;3FA>6F:7?:76;6@AFI3@FFA47BGF;@F:7?;66>7A8&3;@,FD77F3@6F:78AG@67D
$7H;@,BDA>7E3@6F:3F:7IAG>6@776FAF3>=I;F:$7H;@FAG@67DEF3@6I:7D7F:3F3>>
EFAA6 #7D7?K+AE7@F:3>3@6GDF%;@67?3@3E=763D6;3 P3EF:7:;9:7EF D3@=;@9A88;57D 
KAG53@RFI;D7F:;EB3K?7@FQ3D6;3FA>6F:7?F:3F:7IAG>68A>>AI GB38F7D:7:363
5:3@57FAEB73=I;F:F:78AG@67DI:A:3643@=355AG@F3557EE4753GE73D6;36;6@RF
I3@FFA97F;@F:7?;66>7A8>793>5:3>>7@97E47FI77@F:78AG@67D3@6&3;@,FD77F -:7>3EF
F:;@9-DAK);=7E3;6I3E3FF:7A3D6?77F;@9I3E P 7@F>7?7@ F:7F:D77A8GEE:AG>6
6;E5GEEI:3F;E9A;@9FA:3BB7@&A@63KI:7@&3;@,FD77F6A7E@RFD757;H7F:7;DB3K?7@F Q
#7D7?K+AE7@F:3>5>AE76F:7?77F;@94KE3K;@9P-:3@=E8ADKAGDF;?73D6;3 Q

      FB? "D7EBA@676FA,F3>>=3?BRE7?3;>O3>>;@3@AD?3> 4GE;@7EE >;=7I3K 
      
      "9AF@A5A??G@;53F;A@8DA?3@KA8F:7'7I%7367DE38F7DF:7-:GDE63K #G@7   
A3D6?77F;@9 
      
                       %1..@.*-.;<%.;627*=.*;-2**7-.
        7-%;B%88?.;&9 >;*=287*5 ;2027*7-.,*><.8/B!;.07*7,B

      (@#G>K   -DAK);=7@AF;8;763D6;3F:3F:7I3E8;D764K7?3;> !;E7?3;>7@5>AE76
3F7D?;@3F;A@>7FF7D "F6;6@AFBDAH;673D73EA@8ADF7D?;@3F;A@ 

        -DAK);=73>EA@AF;8;76?7A@#G>K   4K7?3;>F:3F"I3E8;D76 !76;6EA;@3I3K
F:3FI3E53>5G>3F76FAFDKFA?3=7;F3BB73DF:3F"I3E@AF3@7?B>AK77 4GF?7D7>K3@;@67B7@67@F
5A@FD35FAD O I:;5: ;E 83>E7   ;DEF  4K 7>75FDA@;5 ?3;> );=7 E7@F 3 ?7EE397 FA P$ ,FD3F79;5
,A>GF;A@E %%Q F:3F 83>E7>K EF3F76  P-:7 A3D6 A8 &3@397DE A8 /A>GE;A@  %% P/A>GE;A@Q
G@67DEF3@6EF:3FKAG:3H7477@BDAH;6;@9E7DH;57EFA/A>GE;A@F:DAG9:3@;@67B7@67@F5A@FD35FAD
D7>3F;A@E:;B Q":36EB75;8;53>>K5A@8;D?76FAF:7'7I%7367DEF:3F"I3E38G>>F;?77?B>AK77 
F:7 7@7D3>AG@E7> 3@6@AFPAGFE;675AG@E7> Q-:7@);=7RE>7FF7DE3;6

      -:;E>7FF7DE7DH7E3E@AF;57F:3FKAGD5A@FD35FG3> 3@63@KAF:7DD7>3F;A@E:;BKAG:3H7I;F:
/A>GE;A@  7@676 78875F;H7 3E A8  3 ?  7@FD3> ,F3@63D6 -;?7 A@ #G>K      F:7
P-7D?;@3F;A@-;?7Q 8F7DF:7-7D?;@3F;A@-;?7 KAGI;>>@A>A@97D477@F;F>76FA3@K8GDF:7D
5A?B7@E3F;A@AD47@78;FE8DA?/A>GE;A@3@63D7@A>A@97D3GF:AD;L76FA35FA@47:3>8A8/A>GE;A@
ADD7BD7E7@FKAGDE7>8FA473@397@FA8/A>GE;A@ >EA KAG3D7@A>A@97D3GF:AD;L76FA3557EE3@K
/A>GE;A@ EKEF7?E AD 355AG@FE  ;@5>G6;@9 4GF @AF >;?;F76 FA 7?3;> EKEF7?E  HA;57?3;> EKEF7?E 
6A5G?7@F?3@397?7@FEKEF7?E3@68;@3@5;3>355AG@FE 

      $@AI;@9F:3F/A>GE;A@:36@AF477@673>;@9I;F:P$,FD3F79;5,A>GF;A@E%% Q4GF
I;F:?7 );=7E;?G>F3@7AGE>KE7@F3>7FF7DFA?7 P3:3D7<43@ Q);=7RE>7FF7D5A@F3;@76F:7
E3?783>E7;@67B7@67@F5A@FD35FADE7@F7@573@6F:7AF:7D;@8AD?3F;A@34AGFP@AF;57F:3FKAGD
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5A@FD35FG3> 3@63@KAF:7DD7>3F;A@E:;BKAG:3H7I;F:/A>GE;A@ 7@67678875F;H73EA83 ? 
7@FD3>,F3@63D6-;?7A@#G>K   Q3E:;E>7FF7DFA$,FD3F79;5,A>GF;A@E%% 'A@7A8
F:7'7I%7367DE 3@6@A4A6KA@47:3>8A8/A>GE;A@53>>76?7AD5A@F35F76?7AF:7DI;E734AGF
?KF7D?;@3F;A@ /A>GE;A@6;6@AFBDAH;673D73EA@8ADF7D?;@3F;@9?7 

       -:7'7I%7367DEBDA?BF>KFAA=35F;A@E3@6?367EF3F7?7@FEF:3FE:AIF:7F7D?;@3F;A@
675;E;A@I3E?AF;H3F764K?KBD79@3@5K3@64K:AEF;>;FKFAF:7@3F;A@3>AD;9;@A8FIAA8F:7
F:D77B7AB>73D6;37<43@3@6?7F:3F;F8;D76;@P>7367DE:;B5:3@97EQ;F5A@@75F76FA;FE8;>;@9
8AD43@=DGBF5KF:7E3?763KF:3F;F8;D763D6;37<43@ $7H;@,BDA>7E 3@6?7 

      ;DEF A@;@8AD?3F;A@3@647>;78 /A>GE;A@E7>75F763@A@ BD79@3@F?3>7 3H;6,@K67D FA
D7B>357?73E 7@7D3>AG@E7> 

       ,75A@6 FA?3=7;FE77?>;=7@AF:;@9I3EPIDA@9Q3F/A>GE;A@ F:7A?B3@KBG4>;E:76
;@8AD?3F;A@34AGF;FE:3BF7D43@=DGBF5K8;>;@9G@67DF:7:736;@9PD7CG7@F>KE=76
*G7EF;A@E Q/A>GEA@REP3@EI7DEQ6;6@AF:;@FF:3FF:7PD73EA@Q8AD8;D;@93D6;37<43@AD?7
I3EF:3F;FI3E835;@9P6;E7@939763@66;EA476;7@FA88;57DE Q":3H736;EF;@5F>K"D3@;3@@3?7O
3:3D7<43@ /A>GE;A@6;6@AF?7@F;A@;F;@;FEP3@EI7DE Q'AD6;6;F?7@F;A@F:3F;F:368;D76
/A>GE;A@RE 7@7D3>AG@E7> /A>GE;A@83>E7>KEF3F76F:3FFA97F43@=DGBF5KBDAF75F;A@;@B>357
8AD/A>GE;A@ 

       I7?367EA?76;88;5G>F 4GF@757EE3DK3@6;??76;3F7>7367DE:;B5:3@97E 
       //.,=2?.>5B .?27$9;85.<*7-*;-2*.3+*7*;.785870.;@2=1=1.
       ,869*7B 07=@AIF:;E?3K:3H73B7DEA@3>;?B35FA@EA?7A8KAGI;F:>A@9
       EF3@6;@9D7>3F;A@E:;BE 3EI7>>3EFAAGDF;9:F =@;FAD93@;L3F;A@AH7D3>> .?27
       *7-*;-2*1*?.+..72698;=*7=5.*-.;<*='85><287*7-@.*;.
       =;.6.7-8><5B=1*74/>5/8;=1.2;<2072/2,*7=,87=;2+>=287<0:;>7F:7K3D7@A
       >A@97D8AD?3>>K3B3DFA8/A>GE;A@ F:747>;78;@F:75A?B3@K =1.2698;=*7,.8/
       =1.,>5=>;.*7-=1.62<<287=1.B27<92;.-@255;.6*27(GD9A3>;EFA:A@AD
       I:3FF:7K:7>B76FA5D73F74K?3=;@9EGD7F:7D7EFDG5FGD;@9BDA57EE;EEG557EE8G>
       3@6/A>GE;A@53@F:D;H79A;@98ADI3D6 

?B:3E;E36676 

        E8ADF:7PD73EA@Q8ADF:743@=DGBF5K3@6;FEF;?;@9 /A>GE;A@REP3@EI7DEQEF3F76P-:7
5A?B3@K:3E?3FGD76674F3@6:3E@AF477@34>7FA?3=7D7B3K?7@FF7D?E Q-:7P3@EI7DEQ6;6
@AF3EE7DFF:7D73EA@I3E;@EG88;5;7@F5A>>34AD3F;A@AD5AAB7D3F;A@8DA?3@KA87J;EF;@9
?3@397?7@FADF:3F;FI3E83576I;F:P6;E7@939763@66;EA476;7@FA88;57DE Q

       -:;D6 3F34AGFF:7E3?7F;?7 /A>GE;A@FAA=367>;47D3F735F;A@I:7@5AGB>76I;F:;FE
35FA8:;6;@9?K@3?73E;F8;D76?7FA:;67?K"D3@;3@@3F;A@3>AD;9;@8DA?F:7BG4>;5 0:7@
3D6;34753?7(A8/A>GE;A@ F:75A?B3@KBAEF763>7FF7D8DA?3D6;3A@;FE4>A9 8ADF:7
H;7I;@9IAD>6RE;@8AD?3F;A@ -:7F;F>7A8F:7>7FF7DI3EP3K(@7O'7I( /A>GE;A@ Q
)397A8F:3F>7FF7D5A@F3;@76F:;E
CaseCase
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       73DAG@67DE )3DF@7DE3@6?B>AK77E

       E"F3=7F:;E@7IDA>7A8( ">AA=435=3FF:7B3EFF:D77K73DE3@63?
       F:3@=8G>8ADF:7ABBADFG@;FKFAIAD=I;F:EA?3@KA8KAG6;D75F>K -A63K;E3@
       7J5;F;@93@6:G?4>;@963K8AD?7 3@67H7@F:AG9:"RH7477@3B3DFA83>>F:7
       3?3L;@95:3@97E3F/A>GE;A@F:7E7B3EF87IK73DE ;F877>EH7DK?G5:>;=734D3@6
       @7I63K %;=73>>A8KAG ":3H735:A;57;@I:3F"6A 3@65:AAE;@9/A>GE;A@FA
       473B3DFA8?K8GFGD7:3EH7DK?G5:477@E:3B764K?KB3EF3EI7>>3E?K
       B3EE;A@8AD7@FD7BD7@7GDE:;B -:7E7H3>G7E3D7E:3D76@AFA@>KI;F:AGD8AG@67D 
       $7H;@ 4GF3>EAD7#75F764K7H7DKF:;@9I76A3E3@AD93@;L3F;A@ 

       ,*6.=8=1.&72=.-$=*=.<27 =8.<,*9.=>;+>5.7==26.</;86;*7*7-
       0;.@>927$8>=1.;7*52/8;72*"5A?78DA?3:3D6IAD=;@983?;>KI;F:F:79D;F
       FA>3G@5:3@69DAIF:7;DAI@4GE;@7EE7E "RH7>3G@5:76?KAI@EG557EE8G>
       5A?B3@;7E 4DAG9:F:G@6D76EA8BDA6G5FEFA?3D=7F 3@6:3H7:7>B76AF:7D
       8AG@67DE3@67@FD7BD7@7GDE6AF:7E3?7 "R?367HAF76F75:@A>A9;EFI;F:36;H7DE7
       BDA6G5F3@67@9;@77D;@9435=9DAG@63@6:3H7EA>;64GE;@7EE7JB7D;7@57
       ;@5>G6;@983;>GD7E &AD7;?BADF3@F>K ":3H73677BG@67DEF3@6;@9A8F:7@776E
       A8AGDF:AGE3@6EA85GEFA?7DE3@6F3=79D73FBD;67;@:7>B;@9F:7?EG55776 "
       5GDD7@F>K>;H7;@GEF;@ -7J3EI;F:?KI;87A87;9:FK73DE FIA4AKE3@6 K73D
       A>6#35=+GEE7>>-7DD;7D 

?B:3E;E36676 

        GD;@9 3D6;3RE F7@GD7 I;F: /A>GE;A@ E;@57 :7 4793@ ;@ #3@G3DK   I:7@ 3@
7?B>AK77>78F/A>GE;A@ /A>GE;A@>78FF:7;D3DF;5>7E3@65A@F7@F>;H7A@;FE6;9;F3>8AAFBD;@F 
?AEF A8F7@ F;?7E G@67D F:7;D @3?7   -:;E I3E /A>GE;A@RE I3K A8 :A@AD;@9 F:7? 3@6
E:AI;@9A88F:7F3>7@F3@65G>FGD7A8F:75A?B3@K (2=127*@..48;=@88/*;-2*F<
/2;270'85><287;.68?.-12<D*B 7.E5.==.;/;862=<@.+<2=.
CaseCase
     20-50082
         20-50082
               Claim
                   Document
                     21-1 Filed
                            178 11/30/20
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       ,:ADF>K38F7D8;D;@9F:75A?B3@KREA@>K"D3@;3@ 4AD@7?B>AK77E 3D6;37<43@3@6
?7 A@ #G>K      3@6 3@@AG@5;@9 FA F:7 IAD>6 F:3F ;FE P;??76;3F7 3@6 @757EE3DK
>7367DE:;B5:3@97Q;@5>G6;@9$7H;@,BDA>7E@A>A@97D47;@9I;F:F:75A?B3@K /A>GE;A@
D7:;D76 ,BDA>7E   ,A  ;FE >7367DE:;B 5:3@97E 7>;?;@3F76 A@>K "D3@;3@ 4AD@ 5A?B3@K
7?B>AK77E 

       -:7@/A>GE;A@83>E7>KEF3F76FAF:7BG4>;5F:7D73EA@3D6;3 3@6;?B>;5;F>K" 
I7D78;D76 "@;FEBG4>;543@=DGBF5K8;>;@9A8'AH7?47D   E;9@764K-DAK);=73E 
"@F7D;?:;78J75GF;H7(88;57D /A>GE;A@EF3F76

        7EB;F7F:7D7EFDG5FGD;@9788ADFEA8F:774FAD =1.;.,87<=2=>=.-8*;-
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                              Exhibit E

                  Independent Contractor Agreement
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                        INDEPENDENT CONTRACTOR AGREEMENT

    This Independent Contractor Agreement (the “Agreement”) shall replace all previous agreements,
including the Independent Contractor Agreement (the “Prior Agreement”) made and entered into as of
the 14th day of March, 2019 and the Addendum to Independent Contractor Agreement (the
“Addendum”) made and entered into as of the 30​th day of May, 2019 by and between ​Volusion, LLC​,
a Delaware limited liability company (“Company”), and ​DK Strategic Solutions, LLC​, a Delaware
limited liability company (“Contractor”). The Company desires to retain Contractor as an independent
contractor to perform consulting services for Company and Contractor is willing to perform such
services, on terms set forth more fully below. In consideration of the mutual promises contained
herein, the parties agree as follows:


   1. SERVICES AND COMPENSATION

   This Agreement shall amend and alter the Prior Agreement and Addendum in order to retain the
   following Services:

       (a)    Contractor agrees to perform for Company the services (“Services”) described in Exhibits
A and B attached hereto.

       (b)   Company agrees to pay Contractor the compensation set forth in Exhibit A and B for the
performance of the Services.


   2. CONFIDENTIALITY

        (a) ​Definition​. “Confidential Information” means any Company proprietary information,
technical data, trade secrets or know-how, including, but not limited to, research, product plans,
products, services, customers, customer lists, markets, software, developments, inventions, processes,
formulas, technology, designs, drawings, engineering, hardware configuration information, marketing,
finances or other business information disclosed by Company either directly or indirectly in writing,
orally or by drawings or inspection of parts or equipment.

       (b) ​Non-Use and Non-Disclosure​. Contractor will not, during or subsequent to the term of this
Agreement, use Company’s Confidential Information for any purpose whatsoever other than the
performance of the Services on behalf of Company or disclose Company’s Confidential Information to
any third party. It is understood that said Confidential Information shall remain the sole property of
Company. Contractor further agrees to take all reasonable precautions to prevent any unauthorized
disclosure of such Confidential Information including, but not limited to, having each employee of
Contractor, if any, with access to any Confidential Information, execute a nondisclosure agreement
containing provisions in Company’s favor identical to Section 1 of this Agreement. Confidential

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Information does not include information which: (i) is known to Contractor at the time of disclosure to
Contractor by Company as evidenced by written records of Contractor; (ii) has become publicly known
and made generally available through no wrongful act of Contractor; or (iii) has been rightfully received
by Contractor from a third party who is authorized to make such disclosure. Without Company’s prior
written approval, Contractor will not directly or indirectly disclose to anyone the existence of this
Agreement or the fact that Contractor has this arrangement with Company.

        (c) ​Third Party Confidential Information​. Contractor recognizes that Company has received
and in the future will receive from third parties their confidential or proprietary information subject to a
duty on Company’s part to maintain the confidentiality of such information and to use it only for certain
limited purposes. Contractor agrees that Contractor owes Company and such third parties, during the
term of this Agreement and thereafter, a duty to hold all such confidential or proprietary information in
the strictest confidence and not to disclose it to any person, firm or corporation or to use it except as
necessary in carrying out the Services for Company consistent with Company’s agreement with such
third party.

         (d) ​Other Contractor Confidential Information​. Contractor agrees that Contractor will not,
during the term of this Agreement, improperly use or disclose any proprietary information or trade
secrets of any third party with which Contractor has an agreement or duty to keep in confidence
information acquired by Contractor, if any, and that Contractor will not bring onto the premises of
Company any unpublished document or proprietary information belonging to such party unless
consented to in writing by such party. Contractor will indemnify Company and hold it harmless from
and against all claims, liabilities, damages and expenses, including reasonable attorneys fees and costs
of suit, arising out of or in connection with any alleged or actual violation or misappropriation of a third
party’s rights resulting in whole or in part from Company’s use of the work product of Contractor under
this Agreement.

       (e) ​Return of Materials​. Upon the termination of this Agreement, or upon Company’s earlier
request, Contractor will deliver to Company all of Company’s property or Confidential Information that
Contractor may have in Contractor’s possession or control.


   3. OWNERSHIP

        (a) ​Assignment​. Contractor agrees that all copyrightable material, notes, records, drawings,
designs, inventions, improvements, developments, discoveries and trade secrets (collectively, “Work
Product”) conceived, discovered, developed or reduced to practice by Contractor, solely or in
collaboration with others, during the term of this Agreement which relate in any manner to the business
of the Company that Contractor may be directed to undertake, investigate or experiment with, or which
Contractor may become associated with in work, investigation or experimentation in Company’s line of
business in performing the Services hereunder, are the sole property of Company. Contractor further
agrees to assign (or cause to be assigned) and does hereby assign fully to Company all Work Product
and any copyrights, patents, mask work rights or other intellectual property rights relating thereto.
Contractor hereby waives any and all moral rights.


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       (b) ​Further Assurances​. Contractor agrees to assist the Company, or its designee, at Company’s
expense, in every proper way to secure Company’s rights in the Work Product and any copyrights,
patents, mask work rights or other intellectual property rights relating thereto in any and all countries,
including the disclosure to Company of all pertinent information and data with respect thereto, the
execution of all applications, specifications, oaths, assignments and all other instruments which
Company shall deem necessary in order to apply for and obtain such rights and in order to assign and
convey to Company, its successors, assigns and nominees the sole and exclusive right, title and interest
in and to such Work Product, and any copyrights, patents, mask work rights or other intellectual
property rights relating thereto. Contractor further agrees that Contractor’s obligation to execute or
cause to be executed, when it is in Contractor’s power to do so, any such instrument or papers shall
continue after the termination of this Agreement.

       (c) ​Pre-Existing Materials​. Contractor agrees that if in the course of performing the Services,
Contractor incorporates into any Work Product developed hereunder any invention, improvement,
development, concept, discovery or other proprietary information owned by Contractor or in which
Contractor has an interest: (i) Contractor shall inform Company, in writing before incorporating such
invention, improvement, development, concept, discovery or other proprietary information into any
Work Product; and (ii) Company is hereby granted and shall have a nonexclusive, royalty-free,
perpetual, irrevocable, worldwide license to use, perform, display, make, reproduce, make derivative
works, import, sell, offer for sale, license, distribute, and otherwise dispose of such invention,
improvement, development, concept, discovery or other proprietary information as part of or in
connection with such Work Product, with the right to license such rights to others. Contractor shall not
incorporate any invention, improvement, development, concept, discovery or other proprietary
information owned by any third party into any Invention without Company’s prior written permission.


   4. WARRANTIES

       (a) ​Contractor Warranty​. Contractor shall perform the obligations described herein in a good
and workmanlike manner with due diligence and in full compliance with the terms and conditions of
this Agreement and all mutually agreed to specifications, statements of work, and acceptance criteria.
Contractor, at its expense, shall use reasonable efforts to correct any Services or Work Product
performed by or delivered by Contractor that do not conform to the foregoing warranty.

       (b) ​Further Warranties. Contractor further warrants that: (i) the Work Product is or will be
original to Contractor; (ii) Contractor has not previously granted and will not grant any rights in the
Work Product to any third party that are inconsistent with the rights granted to Company herein; (iii)
each of Contractor’s employees, consultants, contractors, partners, or agents who has been or will be
involved in the performance of the Services has or will have signed an agreement with Contractor
conveying all proprietary and intellectual property rights in or relating to the Work Product to
Contractor and agreeing to maintain in confidence all trade secrets and non-Contractor proprietary
information embodied in the Work Product or acquired while performing the Services or having access
to Work Product; (iv) all Work Product, and the intended uses thereof, shall be free of any third party
claims with respect to intellectual property or other proprietary rights and shall be free of any third

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party liens, encumbrances, security interests, or any similar restrictions; (v) unless provided by
Company, Contractor will provide all necessary personnel, facilities, and materials to facilitate efficient
and effective completion of the Services; (vi) Contractor will exert Contractor’s best efforts to use a
repeatable and proven process to design, develop, test, deliver, and document the Work Product, or any
part thereof; and (vii) Contractor has full power and authority to enter into this Agreement, to carry out
its obligations under this Agreement and to grant the rights granted to Company hereunder.

       (c) ​Warranty Indemnity​. Contractor shall indemnify and hold Company harmless from and
against any claims, damages, or liabilities resulting from Contractor’s breach of the foregoing
warranties.


   5. CONFLICTING OBLIGATIONS

(a) ​Contractor certifies that Contractor has no outstanding agreement or obligation that is in conflict
with any of the provisions of this Agreement, or that would preclude Contractor from complying with
the provisions hereof, and further certifies that Contractor will not enter into any such conflicting
agreement during the term of this Agreement.

(b) ​In view of Contractor’s access to Company’s trade secrets and proprietary know-how, Contractor
further agrees that Contractor will not, without Company’s prior written consent, design identical or
substantially similar designs as any that may be developed in connection with this Agreement for any
third party during the term of this Agreement and for a period of twelve (12) months after the
termination of this Agreement. Contractor acknowledges that the obligations in this Section 5 are
ancillary to Contractor’s nondisclosure obligations under Section 1.


   6. REPORTS

Contractor agrees that he will from time to time during the term of this Agreement or any extension
thereof keep Company advised as to Contractor’s progress in performing the Services hereunder and
that Contractor will, as requested by Company, prepare written reports with respect thereto. It is
understood that the time required in the preparation of such written reports shall be considered time
devoted to the performance of Contractor’s Services.


   7. TERM AND TERMINATION

(a) ​Term​. This Agreement will commence on the date first written above and will continue until the
earlier of: (i) final completion of the Services; or (ii) termination as provided below.

(b) ​Termination​. Company may terminate this Agreement upon giving seven (7) days prior written
notice thereof to Contractor. Company may terminate this Agreement immediately and without prior



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notice if Contractor refuses to or is unable to perform the Services or is in breach of any material
provision of this Agreement.

(c) ​Survival​. Upon termination of this Agreement pursuant to Section 7(a) or (b), all rights and duties
of the parties toward each other shall cease except:

       (i)    ​that Company shall be obliged to pay, within thirty (30) days of the effective date of
termination, all amounts owing to Contractor for Services completed and accepted by Company prior to
the termination date and related expenses, if any, in accordance with the provisions of Section Error!
Reference source not found.; and

       (ii)  ​ ections 1 (Confidentiality), 2 (Ownership), 4 (Warranties), 5 (Conflicting Obligations), 8
              S
(Independent Contractor), and 11 (Arbitration and Equitable Relief) shall survive termination of this
Agreement.


   8. ASSIGNMENT

Neither this Agreement nor any right hereunder or interest herein may be assigned or transferred by
Contractor without the express written consent of Company. Company may assign this Agreement in
its discretion.


   9. INDEPENDENT CONTRACTOR

        (a) ​Nature of Relationship​. It is the express intention of the parties that Contractor is an
independent contractor. Nothing in this Agreement shall in any way be construed to constitute
Contractor as an agent, employee or representative of Company, but Contractor shall perform the
Services hereunder as an independent contractor. Contractor agrees to furnish (or reimburse the
Company for) all tools and materials necessary to accomplish this contract, and shall incur all expenses
associated with performance, except as expressly provided on Exhibit A of this Agreement. Contractor
acknowledges and agrees that Contractor is obligated to report as income all compensation received by
Contractor pursuant to this Agreement, and Contractor agrees to and acknowledges the obligation to
pay all self-employment and other taxes thereon.

         (b) ​Independent Contractor Indemnification​. Contractor agrees to indemnify and hold
harmless Company and its directors, officers and employees from and against all taxes, losses, damages,
liabilities, costs and expenses, including attorneys’ fees and other legal expenses, arising directly or
indirectly from or in connection with: (i) any negligent, reckless or intentionally wrongful act of
Contractor or Contractor’s assistants, employees or agents; (ii) a determination by a court or agency
that Contractor is not an independent contractor; (iii) any breach by Contractor or Contractor’s
assistants, employees or agents of any of the covenants contained in this Agreement; (iv) any failure of
Contractor to perform the Services in accordance with all applicable laws, rules and regulations; or (v)
any violation or claimed violation of a third party’s rights resulting in whole or in part from Company’s


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use of the work product of Contractor under this Agreement.


   10. BENEFITS

Contractor acknowledges and agrees and it is the intent of the parties hereto that neither Contractor nor
any employees or contractors of Contractor receive any Company-sponsored benefits from Company
either as a consultant or employee. Such benefits include, but are not limited to, paid vacation, sick
leave, medical insurance, and 401(k) participation. If Contractor is reclassified by a state or federal
agency or court as an employee, Contractor will become a reclassified employee and will receive no
benefits except those mandated by state or federal law, even if by the terms of Company’s benefit plans
in effect at the time of such reclassification Contractor would otherwise be eligible for such benefits.

   11.   ARBITRATION AND EQUITABLE RELIEF

        (a) ​Disputes​. Except as provided in Section 11(d), Company and Contractor agree that any
dispute or controversy arising out of, relating to or in connection with the interpretation, validity,
construction, performance, breach or termination of this Agreement shall be settled by binding
arbitration to be held in Travis County, Texas, in accordance with the rules then in effect of the
American Arbitration Association. The arbitrator may grant injunctions or other relief in such dispute
or controversy. The decision of the arbitrator shall be final, conclusive and binding on the parties to the
arbitration. Judgment may be entered on the arbitrator’s decision in any court of competent
jurisdiction.

        (b) ​Consent to Personal Jurisdiction​. The arbitrator(s) shall apply Texas law to the merits of any
dispute or claim, without reference to conflicts of law rules. Contractor hereby consents to the personal
jurisdiction of the state and federal courts located in Travis County, Texas for any action or proceeding
arising from or relating to this Agreement or relating to any arbitration in which the parties are
participants.

        (c) C​ osts​. Company and Contractor shall each pay one-half of the costs and expenses of such
arbitration, and each shall separately pay its counsel fees and expenses unless otherwise required by
law.

        (d) ​Equitable Relief​. The parties may apply to any court of competent jurisdiction for a
temporary restraining order, preliminary injunction, or other interim or conservatory relief, as
necessary, without breach of this arbitration agreement and without abridgment of the powers of the
arbitrator.

     (e) ​Acknowledgment​. CONTRACTOR HAS READ AND UNDERSTANDS SECTION 11, WHICH
DISCUSSES ARBITRATION.        CONTRACTOR UNDERSTANDS THAT BY SIGNING THIS
AGREEMENT, CONTRACTOR AGREES TO SUBMIT ANY CLAIMS ARISING OUT OF, RELATING
TO, OR IN CONNECTION WITH THIS AGREEMENT, OR THE INTERPRETATION, VALIDITY,
CONSTRUCTION, PERFORMANCE, BREACH OR TERMINATION THEREOF, TO BINDING

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ARBITRATION, EXCEPT AS PROVIDED IN SECTION 11(d), AND THAT THIS ARBITRATION
CLAUSE CONSTITUTES A WAIVER OF CONTRACTOR’S RIGHT TO A JURY TRIAL AND RELATES
TO THE RESOLUTION OF ALL DISPUTES RELATING TO ALL ASPECTS OF THE RELATIONSHIP
BETWEEN THE PARTIES.


   12.   NON-SOLICITATION


For a period of two (2) years after the termination or expiration of this Agreement, Contractor shall not
solicit any Company customer to sell any product or service similar to or relating to the Services
provided hereunder, without the prior written consent of Company.

   13.   GOVERNING LAW

This Agreement shall be governed by the internal substantive laws, but not the choice of law rules, of
the State of Texas.


   14. ENTIRE AGREEMENT

This Agreement is the entire agreement of the parties and supersedes any prior agreements between
them, whether written or oral, with respect to the subject matter hereof. No waiver, alteration, or
modification of any of the provisions of this Agreement shall be binding unless in writing and signed by
Contractor and a duly authorized representative of Company.


   15.   ATTORNEY’S FEES

In any court action at law or equity which is brought by one of the parties to enforce or interpret the
provisions of this Agreement, the prevailing party will be entitled to reasonable attorney’s fees, in
addition to any other relief to which that party may be entitled.


   16. SEVERABILITY

The invalidity or unenforceability of any provision of this Agreement, or any terms thereof, shall not
affect the validity of this Agreement as a whole, which shall at all times remain in full force and effect.


   17.   NOTICES

Any notice shall be addressed to the party being notified at the address set forth in this Agreement or
such other address as either party may notify the other of and shall be deemed given upon delivery if
personally delivered or transmitted via facsimile or reliable overnight carrier (with tracking capability),



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or forty-eight (48) hours after being deposited in the United States mail, postage prepaid, registered or
certified mail, return receipt requested.




IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the day and year first
above written.



 Company:                                     Contractor:
 VOLUSION, LLC                                DK Strategic Solutions, LLC


 By:                                          _____________________________________
                                              _
 Print Name: Bardia Dejban                    Print Name: Bahar Dejban
 Title:      Chief Executive Officer
 Date:      October 1, 2019                   Address: 16061 Royal Oak Rd.

 Address: 1835-A Kramer Lane, Suite 100                   Encino, California, 91436
            Austin, Texas 78758




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                                           EXHIBIT A

                              SERVICES AND COMPENSATION



1.     Contact​.​ Contractor’s principal Company contact:

(a) ​Name​: Bahar Dejban

(b) ​Title​: Owner



2.     Services​. Contractor will render to the Company the following General Counsel Services:

(a) Advising the Board of Managers, the Executive Team, and the staff of Company on any and all
matters concerning Company on which the CEO and/or Founder authorize, and obtaining and
submitting formal legal opinions whenever requested to do so, especially in the areas of Contracts
and agreements; personnel, labor and employment; and environment.

(b) At the discretion of Company’s CEO and/or Founder, to provide a principal or representative to
attend meetings of the Board of Managers, and if so appointed, will serve as corporate secretary,
including drafting and distributing minutes to the Board of Managers for approval, and keeping the
corporate minute books.

(c) Review, editing, and management of new and active contracts, as requested by Company’s CEO
and/or Founder, including providing opinions and recommendations therefor.

(d) Review and renewal of insurance policies, as requested by Company’s CEO and/or Founder,
including providing opinions and recommendations therefor.

(e) Management of Company’s trademark and patent applications, as requested by Company’s CEO
and/or Founder.

(f) Management of Company’s litigation matters, as requested by Company’s CEO and/or Founder.

(g) Management of DMCA and third party trademark claims related to Company’s hosting of third
party content.

(h) Review, editing, and management of policies and procedures, as requested by Company’s CEO
and/or Founder.

(i) Management of Company’s compliance with applicable data security and privacy laws and
regulations, including the General Data Protection Regulation (“GDPR”) and the EU Privacy Shield.

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3.     Compensation​. Contractor will receive the following compensation for the Services:

(a) ​Payment​: $30,000 per month as flat rate for services, only. Contractor shall also to be
reimbursed for normal and necessary expenses including, but not limited to, travel and lodging,
postage and shipping, supplies, meals, and such other expenses as approved by Company and/or its
CEO and/or Founder.

(b) ​Records​: Contractor agrees to provide accurate and complete records regarding the
performance of all Services for the Company.




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                                            EXHIBIT B

                              SERVICES AND COMPENSATION

1.     Contact​.​ Contractor’s principal Company contact:

(a) ​Name​: Bahar Dejban

(b) ​Title​: Owner

2.     Services​. Contractor will render to the Company the following Services:

     (a) T​o review, manage and/or perform, and/or assist in the successful management, negotiation
and execution of one or more transactions related to all matters related to any transaction involving
Main Street Capital Corporation (“Main Street”), and HMS Income Fund, Inc. (“HMS”);

    (b) To assist Company in managing, overseeing, and supervising corporate development for
Company, including, but not limited to:

               (i) T​o assist Company in the planning, development, and implementation of strategies
to identify and evaluate financing sources for Company, including, but not limited to sources that
will either directly or indirectly provide investment capital, provide new financing or replace
existing financing;

               (ii) To assist Company in planning, and evaluating Company’s debt load, including
advising Company on adding, altering, and/or rearranging its current capital structure, and assist in
the determination of an appropriate capital and debt structure;

               (iii) To assist Company in negotiating with its current investors, creditors, and other
holders of securities, in order to allow for the procurement and implementation of new capital either
through investment or debt or any other form;

              (iii) To assist Company in planning, developing, and implementing to completion the
procurement of capital, including assisting Company in structuring the capital;

               (iv) To assist Company in identifying, contacting, and negotiating with potential
investors and/or lenders.

     (c) To manage and/or oversee and/or supervise and/or direct the partner and/or partner
marketing department at Company, including, but not limited to:

               (i) Planning, developing, and executing of various marketing and sales strategies;

              (ii) Planning, developing, implementing and overseeing all marketing and
advertising campaigns;
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               (iii) Planning, developing, and implementing sales strategies and plans as necessary;

               (iv) Liaising with public relations teams to align objectives, including, but not
limited to planning, and implementing messaging across channels and to targeted audiences to
assure sales and marketing objectives;

               (v) Growing, training, and developing the in-house marketing and sales teams;

             (vi) Conducting market research and staying abreast of competitor positioning; and
budget management.

3.     Compensation​. In consideration, Contractor will receive the following compensation for
the Services:

(a) ​Payment​:

  (1) $30,000 per month as flat rate for services, only.

  (2) a Transaction Fee equal to the sum of twenty five percent (25%) of the total Transaction
Savings associated with any transaction with Main Street and/or HMS and/or any other person or
entity to which Company is financially obligated. Transaction Savings as mentioned herein shall
refer to specific transactions that result in the reduction of Company’s obligations to any
vendor/creditor/contractor whether by way of investment, capital , debt or loan.           The
non-refundable fee provided to Contractor under Exhibit B of the Independent Contractor
Agreement will be credited towards any Transaction fee earned under this section.

  (3) a Transaction Fee equal to the sum of one and one-half percent (1.5%) of the Financing Value
of any Transaction. Financing Value as mentioned herein shall refer to the total capital procured
under section 2(b).

Contractor shall also to be reimbursed for normal and necessary expenses including, but not limited
to, travel and lodging, postage and shipping, supplies, meals, and such other expenses as approved
by Company and/or its CEO and/or Founder.

(b) ​Records​: Contractor agrees to provide accurate and complete records regarding the
performance of all Services for the Company.




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